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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                 )           Chapter 11
                                                        )
 MIAMI METALS I, INC., et al.1                          )           Case No. 18-13359 (shl)
                                                        )
                                                        )           (Jointly Administered)
                              Debtors.                  )
                                                        )

                         JOINT DISCLOSURE STATEMENT FOR
                 JOINT CHAPTER 11 PLAN OF LIQUIDATION OF DEBTORS



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 1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
 Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami
 Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW
 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
 District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No.
 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).


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                                   DISCLAIMER

      THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
 (THE "DISCLOSURE STATEMENT") IS INCLUDED HEREIN FOR PURPOSES OF
 SOLICITING ACCEPTANCES OF THE PLAN OF LIQUIDATION (THE "PLAN")
 PROPOSED BY THE DEBTORS, MIAMI METALS I, INC., FKA REPUBLIC METALS
 REFINING CORPORATION ("MIAMI METALS I") AND ITS DEBTOR
 SUBSIDIARIES AND AFFILIATES (COLLECTIVELY WITH MIAMI METALS, THE
 "DEBTORS") AND MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER
 THAN TO DETERMINE HOW TO VOTE ON THE PLAN. NO PERSON MAY GIVE
 ANY INFORMATION OR MAKE ANY REPRESENTATIONS, OTHER THAN THE
 INFORMATION AND REPRESENTATIONS CONTAINED IN THIS DISCLOSURE
 STATEMENT, REGARDING THE PLAN OR THE SOLICITATION OF ACCEPTAN-
 CES OF THE PLAN.

      ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ THIS
 DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE
 VOTING TO ACCEPT OR REJECT THE PLAN.       PLAN SUMMARIES AND
 STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN
 THEIR ENTIRETY BY REFERENCE TO THE PLAN AND THE EXHIBITS AND
 SCHEDULES ANNEXED TO THE PLAN AND THIS DISCLOSURE STATEMENT.
 THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE
 ONLY AS OF THE DATE HEREOF, AND THERE CAN BE NO ASSURANCE THAT
 THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME
 AFTER THE DATE HEREOF.

      FURTHER, TO THE EXTENT ANY PROVISION OF THIS DISCLOSURE
 STATEMENT IS INCONSISTENT WITH THE PLAN, THE PLAN SHALL CONTROL.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
 WITH SECTION 1125 OF THE UNITED STATES BANKRUPTCY CODE AND RULE
 3016 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT
 NECESSARILY IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS
 OR OTHER NON-BANKRUPTCY LAW. THIS DISCLOSURE STATEMENT HAS
 NOT BEEN APPROVED OR DISAPPROVED BY THE SECURITIES AND EXCHANGE
 COMMISSION (THE "SEC"), NOR HAS THE SEC PASSED UPON THE ACCURACY
 OR ADEQUACY OF THE STATEMENTS CONTAINED HEREIN.

       AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, OR OTHER
 ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL
 NOT CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR
 LIABILITY, STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE
 IN SETTLEMENT NEGOTIATIONS. THIS DISCLOSURE STATEMENT SHALL NOT
 BE ADMISSIBLE IN ANY NON-BANKRUPTCY PROCEEDING NOR SHALL IT BE
 CONSTRUED TO BE CONCLUSIVE ADVICE ON THE TAX, SECURITIES OR
 OTHER LEGAL EFFECTS OF THE PLAN AS TO HOLDERS OF CLAIMS AGAINST,
 OR EQUITY INTERESTS IN, THE DEBTORS.

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      THE DEBTORS INTEND TO SEEK APPROVAL OF THIS DISCLOSURE
 STATEMENT AT THE HEARING ON AUGUST 29, 2019 AT 11:00 A.M. EDT (THE
 "AUGUST 29 HEARING") ONLY IF THE COURT ENTERS ORDERS GRANTING
 THE MOTIONS AT ECF NOS. 1121 AND 1122 (THE "PLAN-RELATED MOTIONS")
 PRIOR TO THE AUGUST 29 HEARING. IF THE PLAN-RELATED MOTIONS ARE
 NOT GRANTED PRIOR TO THE AUGUST 29 HEARING, THE DEBTORS INTEND
 TO TREAT THE AUGUST 29 HEARING AS A STATUS CONFERENCE.




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                                  Table of Exhibits


               Exhibit                                  Name

                 A           Joint Plan of Liquidation of Debtors




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                                    I.     INTRODUCTION

         Miami Metals I, Inc., et al., formerly known as Republic Metals Refining Corporation, as
 debtors and debtors-in-possession in the above-referenced jointly-administered Chapter 11
 Cases, submit this Joint Disclosure Statement (the "Disclosure Statement") pursuant to section
 1125 of the Bankruptcy Code, for use in the solicitation of votes on the Joint Plan of Liquidation
 (the "Plan") proposed by the Debtors dated as of August 1, 2019 and filed with the United States
 Bankruptcy Court for the Southern District of New York (the "Bankruptcy Court"). A copy of
 the Plan is annexed as Exhibit A to this Disclosure Statement.

         Except as otherwise provided herein, capitalized terms not otherwise defined in this
 Disclosure Statement have the meanings ascribed to them in the Plan. Unless otherwise noted
 herein, all dollar amounts provided in this Disclosure Statement and in the Plan are given in
 United States dollars.

        The Official Committee of Unsecured Creditors, the Secured Parties, Bayside Metal
 Exchange, Coeur Rochester, Inc. c/o Coeur Mining, Inc., Cyber-Fox Trading, Inc., Minera Real
 de Oro S.A. de C.V., Pyropure, Inc., and So Accurate Group, Inc. support approval of this
 Disclosure Statement and confirmation of the Plan, as set forth in more detail in the Plan-Related
 Motions.

         This Disclosure Statement sets forth certain information regarding the Debtors'
 prepetition operating and financial history, the need to seek Chapter 11 protection, significant
 events that have occurred during these Chapter 11 Cases, and the anticipated prosecution and
 liquidation of certain Litigation Claims by a Litigation Trustee appointed pursuant to the
 Litigation Trust Agreement. In addition, this Disclosure Statement discusses the confirmation
 process and the voting procedures that holders of Claims and Interests entitled to vote under the
 Plan must follow for their votes to be counted.

      FOR A DESCRIPTION OF THE PLAN AND VARIOUS RISKS AND OTHER
 FACTORS PERTAINING TO THE PLAN AS IT RELATES TO HOLDERS OF CLAIMS
 AND INTERESTS, PLEASE SEE ARTICLE V OF THE DISCLOSURE STATEMENT,
 ENTITLED "SUMMARY OF THE PLAN OF LIQUIDATION," AND ARTICLE VI OF
 THE DISCLOSURE STATEMENT, ENTITLED "CERTAIN FACTORS TO BE
 CONSIDERED."

       THIS DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN
 PROVISIONS OF THE PLAN, CERTAIN STATUTORY PROVISIONS, CERTAIN
 DOCUMENTS RELATING TO THE PLAN, CERTAIN EVENTS THAT HAVE OCCURRED
 IN THE CHAPTER 11 CASES AND CERTAIN FINANCIAL INFORMATION. ALTHOUGH
 THE DEBTORS BELIEVE THAT THE SUMMARIES OF THE PLAN AND RELATED
 DOCUMENT SUMMARIES ARE FAIR AND ACCURATE, SUCH SUMMARIES ARE
 QUALIFIED TO THE EXTENT THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF
 SUCH DOCUMENTS OR STATUTORY PROVISIONS. FACTUAL INFORMATION
 (OTHER THAN THE SUMMARIES OF THE PLAN) CONTAINED IN THIS DISCLOSURE
 STATEMENT HAS BEEN PROVIDED BY THE DEBTORS' MANAGEMENT, EXCEPT


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 WHERE OTHERWISE SPECIFICALLY NOTED. THE DEBTORS DO NOT WARRANT OR
 REPRESENT THAT THE INFORMATION CONTAINED HEREIN, INCLUDING THE
 FINANCIAL INFORMATION, IS WITHOUT ANY MATERIAL INACCURACY OR
 OMISSION.

      THE DEBTORS BELIEVE THAT THE PLAN WILL ENABLE THE DEBTORS TO
 ACCOMPLISH THE OBJECTIVES OF CHAPTER 11 AND THAT ACCEPTANCE OF THE
 PLAN IS IN THE BEST INTERESTS OF THE DEBTORS AND THE HOLDERS OF ALL
 CLAIMS AND INTERESTS. THE DEBTORS URGE HOLDERS OF CLAIMS AND
 INTERESTS IN CLASSES 3, 4, AND 5 TO VOTE TO ACCEPT THE PLAN.

      FOR FURTHER INFORMATION AND INSTRUCTION ON VOTING TO ACCEPT
 OR REJECT THE PLAN, SEE ARTICLE X OF THE DISCLOSURE STATEMENT,
 ENTITLED "THE SOLICITATION; VOTING PROCEDURE."

                II.    PLAN VOTING INSTRUCTIONS AND PROCEDURES

 1.       Notice to Holders of Claims and Interests

         This Disclosure Statement will be transmitted to holders of Claims and Interests that are
 entitled under the Bankruptcy Code to vote on the Plan. A discussion and listing of those holders
 of Claims and Interests that are entitled to vote on the Plan and those holders of Claims and
 Interests that are not entitled to vote on the Plan is provided herein. The purpose of this
 Disclosure Statement is to provide adequate information to enable such Claim and Interest
 holders to make a reasonably informed decision with respect to the Plan prior to exercising their
 right to vote to accept or reject the Plan.

        The Bankruptcy Court has been asked to approve this Disclosure Statement as containing
 information of a kind and in sufficient and adequate detail to enable such Claim and Interest
 holders to make an informed judgment with respect to acceptance or rejection of the Plan. THE
 BANKRUPTCY COURT'S APPROVAL OF THIS DISCLOSURE STATEMENT (WHEN
 SUCH APPROVAL IS OBTAINED) DOES NOT CONSTITUTE EITHER A GUARANTY OF
 THE ACCURACY OR COMPLETENESS OF THE INFORMATION CONTAINED HEREIN,
 OR AN ENDORSEMENT OF THE PLAN BY THE BANKRUPTCY COURT.

        ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS ARE
 ENCOURAGED TO READ THIS DISCLOSURE STATEMENT CAREFULLY AND IN ITS
 ENTIRETY BEFORE DECIDING TO VOTE EITHER TO ACCEPT OR TO REJECT THE
 PLAN. This Disclosure Statement contains important information about the Plan, considerations
 pertinent to acceptance or rejection of the Plan, and developments concerning the Chapter 11
 Cases.

        THIS DISCLOSURE STATEMENT IS THE ONLY DOCUMENT TO BE USED IN
 CONNECTION WITH THE SOLICITATION OF VOTES ON THE PLAN. No solicitation of
 votes may be made except after distribution of this Disclosure Statement, and no person has been
 authorized to distribute any information concerning the Debtors other than the information
 contained herein.


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        CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
 STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES
 AND ASSUMPTIONS THAT MAY BE MATERIALLY DIFFERENT FROM ACTUAL,
 FUTURE RESULTS. Except as otherwise specifically and expressly stated herein, this
 Disclosure Statement does not reflect any events that may occur subsequent to the date hereof
 and that may have a material impact on the information contained in this Disclosure Statement.
 The Debtors do not anticipate that any amendments or supplements to this Disclosure Statement
 will be distributed to reflect such occurrences. Accordingly, the delivery of this Disclosure
 Statement shall not under any circumstance imply that the information herein is correct or
 complete as of any time subsequent to the date hereof.

     EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
 CONTAINED HEREIN HAS NOT BEEN AUDITED BY A CERTIFIED PUBLIC
 ACCOUNTING FIRM AND HAS NOT BEEN PREPARED IN ACCORDANCE WITH
 GENERALLY ACCEPTED ACCOUNTING PRINCIPLES.

 2.       Holders of Claims Entitled to Vote

         Pursuant to the provisions of the Bankruptcy Code, only holders of allowed claims or
 equity interests in classes of claims or equity interests that are impaired and that are in a class
 that will receive a distribution under a proposed chapter 11 plan are entitled to vote to accept or
 reject a proposed chapter 11 plan. Classes of claims or equity interests in which the holders of
 claims or equity interests are unimpaired under a chapter 11 plan are deemed to have accepted
 the plan and are not entitled to vote to accept or reject the plan. Classes of claims or interests
 that receive no distribution on account of their claims or interests are deemed to have rejected the
 plan and are not entitled to vote to accept or reject the plan. Under the Plan, holders of Secured
 Party Claims in Class 3, General Unsecured Claims in Class 4, and Convenience Claims in Class
 5 are impaired. Therefore, the votes of holders of Secured Party Claims in Class 3, General
 Unsecured Claims in Class 4, and Convenience Claims in Class 5 will be solicited. Under the
 Plan, holders of Miscellaneous Secured Claims in Class 1 and Priority Non-Tax Claims in Class
 2, are not impaired. Therefore, votes of holders of Miscellaneous Secured Claims in Class 1 and
 Priority Non-Tax Claims in Class 2 will not be solicited. Votes of holders of Class 6
 Intercompany Interests, Class 7 Subordinated Claims, and Class 8 Intercompany Interests and
 Interest in Miami Metals I, Inc. and Miami Metals II, Inc. will not be solicited because those
 Claims and Interests shall be cancelled, eliminated, and/or extinguished on the Effective Date of
 the Plan.

        The Bankruptcy Code defines "acceptance" of a plan by a class of claims as acceptance
 by creditors in that class that hold at least two-thirds in dollar amount and more than one-half in
 number of the claims that cast ballots for acceptance or rejection of the plan. Acceptance of a
 plan by a class of interests requires acceptance by at least two-thirds of the number of shares in
 such class that cast ballots for acceptance or rejection of the plan. For a more detailed
 description of the requirements for confirmation of the Plan, see Article 14 entitled "Acceptance
 or Rejection of the Plan."

         If any impaired class of claims objects to confirmation of the Plan, the Debtors intend to
 seek to cram down that class of claims pursuant to 11 U.S.C. § 1129(b)(1).

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 3.       Solicitation Package

         Along with the mailing of this Disclosure Statement, as part of the solicitation of
 acceptances of the Plan, the Debtors will send copies of (1) the Plan; (2) the notice of, among
 other things, the time for submitting Ballots to accept or reject the Plan, the date, time and place
 of the hearing to consider confirmation of the Plan and related matters (the "Confirmation
 Hearing"), and the time for filing objections to confirmation of the Plan (the "Confirmation
 Hearing Notice"); (3) if you are the holder of a Claim or Interest entitled to vote on the Plan, one
 or more Ballots to be used by you in voting to accept or to reject the Plan; and (4) the Order
 entered by the Bankruptcy Court approving the Disclosure Statement and procedures to be
 utilized in soliciting acceptances of the Plan (the "Solicitation Procedures Order").

 4.       Voting Procedures, Ballots and Voting Deadline

         After carefully reviewing the Plan, this Disclosure Statement and its exhibit(s), each
 holder of a Claim or Interest which has been impaired under the Plan may vote on acceptance or
 rejection of the Plan by completing, dating and signing the ballot, which will be mailed to them
 after the Court approves this Disclosure Statement. Ballots may be filed electronically by
 registered users or conventionally via United States mail addressed as follows:

          Donlin, Recano & Company, Inc.
          Re: Miami Metals I, Inc., et al.
          P.O. Box 199043
          Blythebourne Station
          Brooklyn, NY 11219

        In order to be counted, ballots must be received by Donlin Recano no later than 5:00 p.m.
 Eastern Time on October 4, 2019.

          Completed ballots for holders of all Claims and Interests should be returned and MUST
 BE RECEIVED BY THE BANKRUPTCY CLERK BY THE DEADLINE SET FORTH IN
 THE BANKRUPTCY COURT ORDER APPROVING THIS DISCLOSURE STATEMENT. If
 you have Claims or Interests in more than one Class under the Plan, you will receive multiple
 ballots.

     IF A BALLOT IS DAMAGED OR LOST, OR IF YOU HAVE ANY QUESTIONS
 CONCERNING VOTING PROCEDURES, CALL OR EMAIL:

                                  Donlin, Recano & Company, Inc.
                                   Re: Miami Metals I, Inc., et al.
                                      Attn: Voting Department
                                          P.O. Box 199043
                                        Blythebourne Station
                                        Brooklyn, NY 11219
                                  Email: drcvote@donlinrecano.com
                                        Phone: 212.771.1128



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 5.       Confirmation Hearing and Deadline for Objections to Confirmation

         Pursuant to Section 1128 of the Bankruptcy Code, the Confirmation Hearing will be held
 at _____ a.m./p.m., prevailing Eastern Time, on October 15, 2019, before the Honorable Sean
 H. Lane, United States Bankruptcy Judge, at the United States Bankruptcy Court for the
 Southern District of New York, One Bowling Green, Courtroom 701, New York, New York
 10004. The Bankruptcy Court has directed that objections, if any, to confirmation of the Plan be
 served and filed so that they are actually received on or before October 4, 2019, at 5:00 p.m.,
 prevailing Eastern Time, in the manner set forth in the Solicitation Procedures Order. The
 Confirmation Hearing may be adjourned from time to time by the Court without further notice
 except for the announcement of the adjournment date made at the Confirmation Hearing or at
 any subsequent adjourned Confirmation Hearing.




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                  III.    HISTORY AND STRUCTURE OF THE DEBTORS

 6.       Overview of Business and Operations.

          A.    Description of the Debtors' Business.

         Founded in 1980 by Richard Rubin, the Debtors were an internationally-recognized
 "Good Delivery" refiner of precious metals with a primary focus on gold and silver. Products
 included delivery of refined bars of both gold and silver, grains, and minted and casted
 investment grade coins and bars in gold and silver of various designs and sizes. Prior to the
 Petition Date and Asahi Sale (as defined below), the Debtors had the capacity to produce
 approximately 80 million ounces of silver and 350 tons of gold, along with over 55 million
 pieces of minted products, per annum. Contract counterparties shipped unrefined gold and silver
 to the Debtors for refining from all over the United States and the Western Hemisphere. Precious
 metal was refined and, depending on the arrangement with the applicable contract counterparty,
 the Debtors paid for unrefined metal by either check, wire transfer, or delivery of refined product
 (physical metal) in “metals credit” on the London metals exchange, commonly referred to as
 "Loco London." Most often, contract counterparties requested payment "Loco London." The
 contract counterparties dispute that the Debtors always purchased metal shipped to them.

         The principal office Debtor Miami Metals II, Inc., f/k/a Republic Metals Corporation
 ("Miami Metals II") was located at 12900 NW 38th Avenue, Miami, Florida 33054, where it ran
 fully integrated gold and silver refineries (the "Refinery"). The Debtors' books and records were
 primarily held at this location. Debtor Miami Metals I's principal office and operations were
 located at 15 West 47th Street, Suites 206 and 209, New York, New York 10036. In New York,
 Miami Metals I serviced smaller customers in the New York metropolitan area, such as jewelry
 manufacturers, precious metal recyclers, and pawnshops, by purchasing metal from those
 suppliers, melting it, and sending the melted metals to the Refinery in Florida. The principal
 business office of Debtor Miami Metals III, Inc. ("Miami Metals III") was located at 5295 NW
 163rd Street, Miami Gardens, Florida 33014, where Miami Metals III processed spent carbon
 from metals mines by drying, homogenizing, sampling, analyzing, and sending to a third party
 low grade smelter for further processing. The Debtors also maintained offices at leased premises
 in Los Angeles, Toronto, Shanghai, and Mexico.

         Collectively, from its two Debtor locations (Miami and New York), as well as through
 non-debtor subsidiaries, the Debtors provided numerous products and services to a diverse base
 of global mining corporations, financial institutions and jewelry manufacturers, in addition to
 refining and minting, vaulting, assaying and risk management / hedging services. The Debtors
 also had a state of the art carbon sampling / processing facility and, prior to the Chapter 11 filing,
 looked to further develop their market-leading position through new growth opportunities in high
 technology precious metals products and services.

        At the Refinery, the Debtors also maintained an ISO9001 and LBMA approved
 laboratory, as well as a fully-integrated fabricated products division including die design and
 production, extrusion, flameless casting, machining, and minting of precious metals investment
 grade products. The Debtors purchased raw metal and scrap from various sources and refined it,
 and also provided numerous related products and services. The Debtors had a segregated small


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 batch refinery within the Refinery where materials with diamonds and other precious stones were
 treated chemically, thus freeing the precious stones unharmed. The precious metals were refined
 and recooperated in this circuit as well.

        The Debtors also maintained a leased sales office in Shanghai, China for RMC's wholly-
 owned subsidiary, Debtor Republic Metals Trading (Shanghai) Co., Ltd. ("Republic Shanghai")
 with two representatives who maintained direct contact with the Chinese banks in regards to the
 bar supply and sales, as well as sourcing consumables (chemicals, supplies, etc.) for the
 Refinery.

        Debtor Republic Trans Mexico Metals ("RTMM"), an indirect, wholly-owned subsidiary
 of Miami Metals II, leases an office and melt facility in Mexico City (Madero district) where its
 15 independent contractors melted/assayed and financed the purchase of precious metals scrap
 that were sent to the Refinery weekly.

         In the period prior to the Petition Date, there were approximately two hundred (200)
 salaried and hourly employees of Debtor Miami Metals II, approximately four (4) salaried and
 hourly employees of Debtor Miami Metals I, and approximately ten (10) salaried and hourly
 employees of Debtor Miami Metals III.

          B.   Pre-Petition Financing.

         As of the Petition Date, Coöperatieve Rabobank U.A., New York Branch (“Rabobank”),
 Brown Brothers Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi
 International Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal
 Trading LLC (“Techemet”), Woodforest National Bank (“Woodforest”), and Hain Capital
 Investors Master Fund, Ltd., as successor-in-interest to Bank Leumi USA (“Hain,” and together
 with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet, and Woodforest, the “Secured
 Parties”) were collectively owed (and continue to be owed) more than $177 million by the
 Debtors under certain credit agreements, master netting agreements, and lease agreements
 (collectively, the “Credit and Lease Agreements”).

        With the exception of Mitsubishi and ICBCS, each of the Secured Parties first entered
 into Credit and Lease Agreements with the Debtors between January 2016 and October 2017.
 Mitsubishi and ICBCS first entered into Credit and Lease Agreements with RMC in December
 2008 and January 2011, respectively.

         The obligations under the Credit and Lease Agreements are secured by valid and
 perfected liens on substantially all of the Debtors’ assets, including all personal and real
 property, instruments and intangibles and the proceeds thereof (except for RTMM and Republic
 Shanghai).

         The Secured Parties are parties to a certain Second Amended and Restated Intercreditor
 Agreement, dated as of February 19, 2016 (as amended from time to time, the "Intercreditor
 Agreement"), which governs the respective rights and interests of the Senior Lenders in the
 assets of Miami Metals II. Miami Metals II executed the Intercreditor Agreement.



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        In addition to the foregoing, ICBCS and Miami Metals II are parties to a certain
 Unallocated Precious Metals Accounts Agreement dated May 28, 2015 (as amended, the
 “UPMAA”). Pursuant to the UPMAA, ICBCS maintained RMC’s “Loco London” clearing
 account (the “London Clearing Account”). In the ordinary course of its business, Miami Metals
 II used the London Clearing Account to settle transactions with customers via Loco London
 metal credit. The UPMAA and the London Clearing Account services provided by ICBCS to
 Miami Metals II thereunder were separate and independent of ICBCS’ Credit and Lease
 Agreement with Miami Metals II.

          C.     History and Events Leading to Filing of the Chapter 11 Cases.

         In the spring of 2018, the Debtors discovered a significant discrepancy in their inventory
 accounting as part of preparation of their 2017 year-end financials and quarterly financials for
 the first quarter, 2018. This led to the Debtors retaining the accounting firm of EisnerAmper
 LLP ("EisnerAmper") to conduct a physical inventory. On June 8, 2018, EisnerAmper
 conducted the physical inventory and, thereafter, on June 20, 2018, delivered a report that
 confirmed inventory discrepancies in the Debtors' books and records.

         Shortly after receiving EisnerAmper's June 20 report, the Debtors retained Scott Avila
 and Paladin Management Group, LLC ("Paladin")2 to identify various operational, managerial,
 financial, and strategic restructuring alternatives, and under the business and financial impacts of
 the same.

         As a result of the inventory issues, numerous defaults were triggered under the Credit and
 Lease Agreements. On June 24, 2018, the Debtors organized a meeting of the Senior Lenders in
 Miami to discuss the inventory issues. On July 10, 2018, the Secured Parties served termination,
 default and demand notices on the Debtors that among other things, accelerated all debt
 obligations and terminated and liquidated lease obligations under the Credit and Lease
 Agreements.

         At or about that same time, the Debtors contacted Valcambi, SA ("Valcambi"), a major,
 strategic metals refiner, about the possible acquisition of the Debtors as a going concern. Shortly
 thereafter, Valcambi produced a letter of intent to acquire the Debtors' business. As a result of
 the letter and other discussions, among other reasons, the Secured Parties agreed to forebear,
 temporarily, and allow the Debtors to operate in the ordinary course, pending negotiation of a
 more formal forbearance arrangement to allow the Debtors to pursue a sale with Valcambi, or
 otherwise to pursue a sale on a broader scale.

         Substantial, extensive negotiations ensued which ultimately resulted in the execution of a
 Forbearance Agreement on August 7, 2018 (the "Forbearance Agreement"), which then became
 effective on August 17, 2018. Pursuant to the Forbearance Agreement, the Secured Parties
 agreed, among other things, to forbear from exercising their respective rights and remedies under


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   On June 24, 2018, the Debtors retained Armory Strategic Services ("Armory") as financial advisor. Shortly
 thereafter, Avila and his professional team left Armory and formed Paladin. The Debtors retained Avila as CRO
 and Paladin as financial advisor effective July 21, 2018, and terminated Armory the same day.

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 the Credit and Lease Agreements and the Intercreditor Agreement in connection with the
 existing defaults.

        With the Forbearance Agreement in place, the Debtors immediately retained SSG Capital
 Advisors LLC ("SSG") as their investment banker to assist with the sale of the Debtors' business
 to Valcambi, or otherwise market the Debtors' business on a broader scale.

        Intense and good faith negotiations with Valcambi continued for over three (3) months.
 Despite numerous, lengthy telephone calls, an in-person meeting in New York City, and multiple
 exchanges of term sheets and offers, the Debtors and the Secured Parties were unable to reach
 terms with Valcambi.

         On or about October 18, 2018, ICBCS exercised its right to suspend the Debtors' access
 to the London Clearing Account. Thereafter, the Secured Parties informed the Debtors that the
 Secured Parties were ceasing negotiations with Valcambi. The Forbearance Agreement also
 terminated in or around the same time.

         Notwithstanding the foregoing, and concurrently during the Debtors' preparations for
 Chapter 11, the Debtors, Secured Parties and Valcambi continued to discuss what, if any,
 acquisition prior to and outside of a Chapter 11 might be possible. By October 26, 2018, the
 parties were extremely close to finalizing the material terms of an immediate, going concern
 acquisition of the Debtors by Valcambi, with the last open diligence items to be resolved by
 October 31, 2018.

        Unfortunately, Valcambi, the Debtors, and Secured Parties were unable to finalize the
 terms of an acquisition by the end of the day, October 31. With limited cash, and the inability to
 trade metals or deliver refined goods, the Debtors commenced these proceedings on November
 2, 2018, to explore an orderly sale process of their assets and operations.

          D.    Financial Results.

        As of the date of this Disclosure Statement, the Debtors have filed Monthly Operating
 Reports detailing their financial performance for the months of November 2018 [ECF No. 360],
 December 2018 [ECF No. 562], January 2019 [ECF No. 693], February 2019 [ECF No. 857],
 March 2019 [ECF No. 950], April 2019 [ECF Nos. 1125 and 1129], May 2019 [ECF No. 1207],
 and June 2019 [ECF No. 1266] (collectively, the "MORs").

        The MORs are incorporated by reference and will be provided in PDF format upon
 request to katherine.fackler@akerman.com.




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 7.       Capital Structure of the Debtors.

        Miami Metals I and Miami Metals II are each owned 100% by the Amended and
 Restated Richard Rubin Revocable Trust u/a/d 12/8/2008 (the "Rubin Trust"). Miami Metals II
 owns 100% of Miami Metals III.

       Miami Metals II owns 100% of each of Republic Shanghai, Miami Metals IV LLC
 ("Miami Metals IV"), Miami Metals V LLC ("Miami Metals V"), Miami Metals VI LLC
 ("Miami Metals VI"), Miami Metals VII LLC ("Miami Metals VII"), and Miami Metals VIII,
 LLC ("Miami Metals VIII"). Miami Metals IV and Miami Metals V each own 50% of RTMM.

 8.       Corporate Structure of the Company.

          A.      Current Corporate Structure.

        Miami Metals I is a New York corporation. Miami Metals II and III are Florida
 corporations. Miami Metals IV, V, VI, VII, and VIII are Florida limited liability companies.
 Republic Shanghai is a wholly foreign owned entity. RTMM is a Mexican entity.

          B.      Executive Officers.

          Prior to the Petition Date, the Debtors' senior management team was composed of:

               a. Jason Rubin, President and Chief Executive Officer;
               b. David Comite, Treasurer and Chief Financial Officer;
               c. Zachary Shair, Refinery Operations Director;
               d. James Gavilan, Senior Vice President of Business Development;
               e. Luis Pena, Head of Global Sales;
               f. Alan Silverstein, General Counsel;
               g. Richard Lani, Chief Compliance Officer;
               h. JR Rao, Vice President of Environmental Health & Safety;
               i. Lindsey Rubin, Corporate Secretary; and
               j. Rafael Carbonell, Chief Operating Officer.
        After the sale of the Debtors' assets to Asahi Holdings Corp., the Debtors did not retain
 the services of any of the foregoing individuals except Jason Rubin, solely in his capacity as
 Chief Executive Officer, and David Comite, but only as an employee and not as Chief Financial
 Officer or Treasurer.

        Prior to the Petition Date, the Board of Directors of Miami Metals I, including Jason
 Rubin, Rose Rubin, and Lindsey Rubin, approved the retention of Scott Avila as Chief
 Restructuring Officer ("CRO") of the Debtors and Paladin. After the Petition Date, the



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 Bankruptcy Court approved Mr. Avila's retention as CRO at ECF No. 245. Mr. Avila is also a
 member of the Debtors' Board of Directors.

 9.       The Rubin Family

        As listed above, prior to the Petition Date, Jason Rubin was the President and Chief
 Executive Officer of the Debtors, Lindsey Rubin, his sister, was the Corporate Secretary, and
 their mother, Rose Rubin, was a member of the Board of Directors. The sole shareholder of
 Republic Metals Company is the Rubin Trust, of which Rose Rubin is the sole trustee and sole
 beneficiary.

         The Rubin family and their related entities, including the Rubin Trust, Republic Metals
 Warehouse LLC, Richard Rubin Lindjay Investments, LLC, Jason Ross Rubin Enterprises, LLC,
 and RRLJ12, LLC are the subject of investigations by the Secured Parties and the Committee
 with respect to possible fraud, breach of fiduciary duty, and fraudulent transfer claims.

 10.      Secured Party Lawsuits

        The Secured Parties have filed two lawsuits as of the filing of this Disclosure Statement:
 (i) Cooperative Rabobank U.A., New York Branch, et al. v. Lindsey Rubin, Case No. 19-20429-
 cv-Williams, in the United States District Court for the Southern District of Florida (the "L.
 Rubin Lawsuit"), and (ii) Cooperative Rabobank U.A., New York Branch, et al. v. Crowe LLP,
 Case No. 2019-018945-CA-01, pending in the 11th Judicial Circuit Court in and for Miami-Dade
 County, Florida (the "Crowe Lawsuit").

          The L. Rubin Lawsuit has been dismissed without prejudice.

        On July 25, 2019, Crowe filed a motion to remove the Crowe Lawsuit to the United
 States District Court for the Southern District of Florida. The motion to remove indicates that
 Crowe intends to file a motion to transfer the case to the United States District Court for the
 Southern District of New York. The proceeds of the Crowe Lawsuit are the subject of the
 Settlement Agreement (as set forth below).


                                   IV.    CHAPTER 11 CASE

 11.      Continuation of Business; Stay of Litigation.

         On November 2, 2018 (the "Petition Date"), Miami Metals I, II, and III filed petitions for
 relief under chapter 11 of the Bankruptcy Code. On November 8, 2018, the Bankruptcy Court
 entered an Order [ECF No. 44] directing joint administration of the cases of those three Debtors,
 and designated Case No. 18-13359 (SHL) as the lead case (the "Lead Case"). On November 21,
 2018, Miami Metals IV, V, VI, VII, VIII, Republic Shanghai, and RTMM filed voluntary
 petitions for relief. On December 21, 2019, the Bankruptcy Court entered a Final Order
 consolidating those Debtors' cases with the Lead Case [ECF No. 349].




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          Since the Petition Date, the Debtors have continued as debtors-in-possession subject to
 the supervision of the Bankruptcy Court and in accordance with the Bankruptcy Code. Under
 the Bankruptcy Code, the Debtors are required to comply with certain statutory reporting
 requirements, including the filing of monthly operating reports. As of the date hereof, the
 Debtors have complied, and will continue to comply, with such requirements. The Debtors are
 authorized to operate their business in the ordinary course of business, with transactions out of
 the ordinary course of business requiring Bankruptcy Court approval, however, as of the Petition
 Date the Debtors ceased operations and began liquidating their assets and winding down their
 affairs.

         An immediate effect of the filing of the Debtors' bankruptcy petitions is the imposition of
 the automatic stay under the Bankruptcy Code which, with limited exceptions, enjoins the
 commencement or continuation of all collection efforts by creditors, the enforcement of liens
 against property of the Debtors and the continuation of litigation against the Debtors. This relief
 provides the Debtors with the "breathing room" necessary to assess and reorganize their
 business. The automatic stay remains in effect, unless modified by the Bankruptcy Court, until
 consummation of a chapter 11 plan.

 12.      Cash Collateral Orders.

        With the consent of the Secured Parties, the Court entered nine (9) orders authorizing the
 Debtors to use the Secured Parties' cash collateral on an interim basis, at ECF Nos. 54, 277, 372,
 538, 675, 864, 987, 1160, and 1237 (collectively, the "Interim Cash Collateral Orders") in
 accordance with the budgets attached to each Interim Cash Collateral Order.

        The Debtors and the Secured Parties have sought entry of a Final Order authorizing the
 use of cash collateral in connection with Court approval of the 9019 Motion, the Settlement
 Agreement and the Plan Support Agreement.

         Pursuant to the Cash Collateral Orders, the Secured Parties assert an Adequate Protection
 Superpriority Claim in excess of $23,950,000 on account of the postpetition diminution in value
 of their collateral.

         Pursuant to the Settlement Agreement and the Plan Support Agreement, on the Plan
 Effective Date, the Secured Parties' Adequate Protection Superpriority Claims and Adequate
 Protection Liens will be disallowed, waived, and automatically cancelled.

 13.      The Sale of the Debtors' Assets to Asahi.

         On December 21, 2018, the Debtors filed a Motion for Order (i) Authorizing and
 Approving Procedures for the Sale of the Debtors' Assets; (ii) Scheduling a Sale Hearing; (iii)
 Approving Procedures for Assumption and Assignment of Executory Contracts and Unexpired
 Leases in Connection with the Sale; (iv) Approving Sale of Property Free and Clear of Interest;
 and (v) Approving Form of Notice of Sale (the "Sale Motion") [ECF No. 358].

       Through the Sale Motion, the Debtors proposed Bid Procedures (as defined in the Sale
 Motion), whereby the Debtors and their professionals would determine whether any person was

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 eligible to bid, coordinate the efforts of those potential bidders in conducting their respective due
 diligence investigations regarding the Debtors' assets, receive offers from bidders deemed
 qualified, and negotiate any offer made to purchase the Debtors' assets, which did not include
 any of the Debtors' precious metal inventory.

         On January 8, 2019, the Debtors filed a Notice of Selection of Stalking Horse Bidder
 [ECF No. 380], designating Valcambi as the stalking horse bidder with a bid of $16,000,000 (the
 "Stalking Horse Bid").

         Following a hearing on January 9, 2019 during which the Bankruptcy Court approved the
 Bid Procedures, on January 11, 2019, the Bankruptcy Court entered an Order, inter alia,
 approving the Bid Procedures (the "Bid Procedures Order") [ECF No. 399]. On January 31,
 2019, the Debtors conducted an auction at Akerman's New York office (the "Auction"). The
 Auction lasted several hours and included five (5) bidders. There were twenty-eight (28) rounds
 of bidding at the Auction, and Asahi Holdings Corp. ("Asahi") ultimately prevailed with a high
 bid of $25,500,000 (the "Winning Bid").

        On February 13, 2019, the Bankruptcy Court approved the sale to Asahi (the "Asahi
 Sale") on a final basis. On February 21, 2019, the Bankruptcy Court entered an Order (a)
 Approving Sale of Substantially All of Debtors' Assets "Free and Clear" of All Liens, Claims,
 Encumbrances, and Other Interests, (b) Approving Assumption and Assignment of Executory
 Contracts and Unexpired Leases, and (c) Granting Related Relief (the "Final Sale Order") [ECF
 No. 658]. On March 7, 2019, the Debtors closed the Asahi Sale for $25,500,000.

 14.      Uniform Procedures Order and Customer Litigation.

        Early in these Chapter 11 Cases, numerous contract counterparties (the "Customers")3 of
 the Debtors filed objections to the Debtors' request to use the Secured Parties' cash collateral
 which the Secured Parties assert includes certain materials, products, goods held in tolling
 accounts, pool accounts, and the proceeds and profits thereof (collectively, the "Materials") [ECF
 No. 10]. The Customers dispute that the materials are property of the Debtors or part of the
 Secured Parties' collateral. The Customers' objections made clear that ownership of the
 Materials would be a key issue (the "Ownership Disputes"). To streamline and attempt to
 expedite resolution of the Ownership Disputes, the Debtors, Secured Parties, Committee, and
 Customers negotiated certain procedures for the litigation and resolution of the Ownership
 Disputes, which the Court memorialized in its Order Approving Uniform Procedures for
 Resolution of Ownership Disputes (the "Uniform Procedures Order" [ECF No. 395], as amended
 by ECF No. 1196. Pursuant to the Uniform Procedures Order, more than fifty (50) Customers of
 the Debtors have asserted various claims related to the Ownership Disputes. On February 19,
 2019, the Debtors filed their Omnibus Response to the Customer Statements [ECF No. 648].



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   Nothing in this Section 14 is intended to impair any Customer's rights and remedies in the Ownership Disputes and
 under the Uniform Procedures Order. Statements made in this Disclosure Statement are made for purposes of
 solicitation only, and are not binding on the Debtors or admissible as evidence on any other matter including but not
 limited to, the Ownership Disputes. Further, to the extent any Customer votes on the Plan, such vote shall not
 impact or impair the Customer's rights and remedies in the Ownership Dispute.

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        Pursuant to the Uniform Procedures Order, discovery is ongoing, and motions for
 summary judgment with respect to several customers have been filed. The parties expect this
 process to continue through the Fall of 2019, and post-Confirmation of the Plan. At this point,
 the Debtors are unable to predict the outcome of this litigation.

 15.      Other Material Relief Obtained During the Chapter 11 Case.

          A.    Retention of Professionals.

        On November 8, 2018, Akerman filed an Application to Employ Akerman LLP as
 Counsel for the Debtors Nunc Pro Tunc to Petition Date [ECF No. 59] and the Court approved
 that Application at ECF No. 278.

         The Court also approved the Debtors' retention of: (i) Donlin, Recano & Company, Inc.
  as Claims and Noticing Agent for the Debtors [ECF Nos. 11, 24, 29, 50] and as Administrative
  Agent for the Debtors [ECF Nos. 339, 536]; (ii) Paladin Management Group, LLC as financial
  advisors for the Debtors, and Scott Avila as Chief Restructuring Officer [ECF Nos. 58, 245];
  and (iii) SSG Advisors, LLC as investment banker [ECF Nos. 60, 90, 149, 246].

          The Court approved the Committee's retention and employment of Cooley LLP as its
 counsel [ECF No. 421] and CBIZ Accounting, Tax, & Advisory of New York, LLC and CBIZ,
 Inc. as its financial advisor [ECF No. 422].


 16.      Summary of Claims Process and Bar Date.

          A.    Schedules and Statements of Financial Affairs.

        On January 18, 2019, each of the Debtors filed Schedules of Assets and Liabilities and
 Statements of Financial Affairs in their respective cases (collectively, the "Schedules and
 Statements") with the Bankruptcy Court. The Schedules and Statements are available on
 Donlin's website at https://www.donlinrecano.com/Clients/rmetals/Static/SOALS.

         Among other things, the Schedules and Statements set forth the Claims of known
 creditors of the Debtors as of the Petition Date, based upon the Debtors' books and records.

          B.    Claims Bar Date and Proofs of Claim.

         On February 28, 2019, the Bankruptcy Court entered an Order (I) Setting Bar Date for
 Submitting Proofs of Claim Asserted Pursuant to 11 U.S.C. § 503(b)(9), (II) Approving
 Procedures for the Assertion, Resolution, and Satisfaction of 503(b)(9) Claims, and (III)
 Approving Notice Thereof [ECF No. 690], establishing April 12, 2019 at 5:00 p.m. Eastern Time
 as the deadline for filing proofs of claim pursuant to section 503(b)(9) Of the Bankruptcy Code
 (the "503(b)(9) Bar Date").

        As of the 503(b)(9) Bar Date, the total amount of filed claims asserted pursuant to section
 503(b)(9) of the Bankruptcy Code was approximately $54.5 million. The deadline for the
 Debtors to object to 503(b)(9) claims was July 11, 2019, however, the Debtors filed a Motion

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 [ECF No. 1216] to extend that deadline by 90 days. The Court orally granted the Motion at the
 hearings on August 1, 2019.

        On July 19, 2019, the Bankruptcy Court entered an Order [Doc. No. 1266] sustaining the
 Debtors' First Omnibus Objection to Claims Asserted Pursuant to 11 U.S.C. § 503(b)(9) [ECF
 No. 1120], which, together with an Agreed Order on that Objection which has been submitted to
 the Bankruptcy Court for entry, reduced the amount of claims asserted pursuant to section
 503(b)(9) by approximately $4 million.

         On March 1, 2019, the Bankruptcy Court entered an Order Establishing Deadline for
 Filing Proofs of Claim and Approving the Form and Manner of Notice Thereof [ECF No. 694],
 establishing April 12, 2019 at 5:00 p.m. Eastern Time as the deadline for filing general
 unsecured proofs of claim (the "General Claims Bar Date") and May 20, 2019 at 5:00 p.m.
 Eastern Time as the deadline for governmental units to file proofs of claim.

 17.      The 9019 Settlement Agreement.

          On May 23, 2019, the Debtors filed a Joint Motion for Approval of a Settlement
 Agreement by and among the Debtors, Secured Parties, and Committee, pursuant to Federal Rule
 of Bankruptcy Procedure 9019 (the "Settlement Motion") [ECF No. 1122]. Through the
 Settlement Motion, the moving parties sought approval of a settlement agreement (the
 "Settlement Agreement") which, among other things,4 resolved potential challenges to the
 validity, extent, perfection, and enforceability of the Secured Parties' claims and liens, provided
 for litigation and claim funding by the Secured Parties, as well as the assignment of certain
 claims, and provided for a Plan Support Agreement (as defined and described in more detail
 below). The Settlement Agreement and the Plan Support Agreement preserve the Customers'
 rights in the Ownership Disputes and under the Uniform Procedures Order.

         Specifically, pursuant to the Settlement Agreement, the Secured Parties agreed to
 increase the Carve-Out (as defined in the Interim Cash Collateral Orders) by $7,500,000 (the
 "Settlement Payment") to include the following: (i) $5,500,000 for the funding of a litigation
 reserve for the prosecution of claims against the Debtors’ insiders, auditors and other third
 parties and the administration of the Litigation Trust (the "Estate Litigation Fund") effective on
 the effective date of the Settlement Agreement, and (ii) $2,000,000 for the funding of a reserve
 for allowed section 503(b)(9) claims (the "503(b)(9) Fund") effective on the Plan Effective Date.

        The Debtors will fund (i) the Estate Litigation Fund from Cash Collateral on the
 Settlement Agreement effective date and (ii) the 503(b)(9) Fund from Cash Collateral on the
 Plan Effective Date. Upon the Debtors’ funding of the Estate Litigation Fund and the 503(b)(9)
 Fund in accordance with the preceding sentence, the Secured Parties shall have no further
 funding obligations in connection with the Plan.

         Pursuant to the Settlement Agreement, in the event that it is determined that the Secured
 Parties did not have an interest in all or some part of the Cash Collateral (as defined in the

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   Interested parties should refer to the Settlement Motion and Settlement Agreement attached thereto for a complete
 recitation of the terms and conditions of the Settlement Agreement.

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 Interim Cash Collateral Orders) used to fund the Settlement Payment by a final non-appealable
 order by a court of competent jurisdiction, the Secured Parties shall promptly disgorge to the
 Debtors or Litigation Trust, as applicable (or otherwise satisfy with equivalent funds), an amount
 equal to the Settlement Payment (or if lesser, an amount equal to the portion, in the aggregate, of
 the Cash Collateral in which the Secured Parties were determined to not have an interest). The
 Debtors or the Litigation Trust, as applicable, shall be responsible for distributing such disgorged
 or other applicable funds to holders of Allowed Title Property Claims (as defined in the Plan
 Support Agreement) on a pro rata basis.

         Further, unless otherwise agreed by the Committee and the Secured Parties, on the
 Settlement Agreement effective date, the Secured Parties will assign the following to the
 Debtors’ Estates (the "Assigned Claims"): any rights, including causes of action or claims, that
 any Secured Party may have against any employee, director, officer, agent, auditor, accountant,
 "insider" (as defined in Section 101(31) of the Bankruptcy Code) or any other person or entity
 that was employed by or provided professional services to the Debtors, arising out of or relating
 in any way to the Secured Parties’ relationship or transactions with the Debtors, including,
 without limitation, the Secured Parties’ respective:

               i. claims asserted in the L. Rubin Lawsuit; and

              ii. proceeds of rights, claims, and causes of action against Maria I. Machado, P.A.,
                  Maria Machado, Crowe LLP and EisnerAmper LLP (the rights, claims, and
                  causes of action referred to in this clause (ii) being referred to herein as the
                  "Assigned Proceeds of Auditor Claims"),

 provided that the Assigned Claims shall not include any claims of the Secured Parties against
 Rose Rubin under (i) that certain Limited Guaranty Agreement, dated as of August 31, 2018,
 made by Rose Rubin in favor of the Secured Parties or (ii) that certain Forbearance Agreement,
 dated as of August 7, 2018, among the Secured Parties and Republic Metals Corporation, as
 amended.

         Subject to any reasonable agreement among the Debtors, Secured Parties, and Committee
 with respect to a contingency fee, the proceeds of the Secured Parties' claims against the Debtors'
 auditors will be distributed as follows: (i) first, 100% to the Secured Parties until the Secured
 Parties receive $2,000,000; (ii) second, 50% to the Secured Parties and 50% to the Debtors’
 Estates until the Secured Parties receive an additional $5,500,000; and (iii) third, 100% to the
 Debtors’ Estates; provided that Secured Parties shall share in such proceeds on account of any
 allowed deficiency claims pari passu with general unsecured creditors (the "Auditor Claim
 Waterfall").

        Further, on the effective date of the Settlement Agreement, the Secured Parties shall
 receive a distribution from Cash Collateral consisting of the proceeds of the following (the
 “Undisputed Collateral”):

                   (a) the 363 asset sale to Asahi pursuant to the Asahi Sale Order;

                   (b) the sale of the Debtors’ carbon pursuant to the Carbon Orders;


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                  (c) the sale of the Debtors’ prepaid minted product pursuant to the Prepaid
 Orders (leaving a reserve for 100% of the one unresolved prepaid claim asserted by Jewelry
 Quarter Bullion Limited);

                     (d) the liquidation of the Debtors’ commodities brokerage accounts;

                (e) the sale of the Debtors’ diamond and jewelry inventory pursuant to the
 Remnant Asset Orders; and

                  (f) the sale of the Debtors’ miscellaneous non-inventory assets, including
 equipment, vehicles and rolling stock, pursuant to the Remnant Asset Orders.

 18.      Development and Summary of the Plan Support Agreement.

         On May 23, 2019, the Debtors filed a Motion for Authority to Enter Into and Perform
 Under a Plan Support Agreement (the "Plan Support Agreement") with the Secured Parties, the
 Committee, and six committee members (the "Committee Members") in their individual
 capacities (the "PSA Motion") [ECF No. 1121].5 In connection with the Settlement Agreement,
 the parties to the Plan Support Agreement agreed to certain Plan-related terms memorialized in
 the Plan Term Sheet attached to the Plan Support Agreement, which sets forth the principal terms
 of an orderly liquidation of the remaining assets of the Debtors and satisfaction of existing debt
 and other obligations of the Debtors, which will be effected through the Plan.

         The Plan Support Agreement allows the Secured Parties to terminate their rights and
 obligations thereunder upon the occurrence of various events, including, inter alia, (i) the entry
 of an order in the Chapter 11 Cases modifying, staying, reversing or vacating the order
 approving the Plan Support Agreement or the order approving the Settlement Agreement, in each
 case without the prior consent of such Secured Party or such Committee Member, or (ii) that the
 Bankruptcy Court has not entered a Confirmation Order approving the Plan on or before August
 31, 2019, provided that this date is automatically extended until October 15, 2019 if the
 Disclosure Statement is approved by August 31, 2019.

         The Plan Support Agreement also permits the Debtors, the Committee and the other
 Supporting Parties to terminate their rights and obligations thereunder upon the occurrence of
 events similar to those set forth above.

          The Plan Support Agreement provides, inter alia:

          1)      The Estate Litigation Fund, the Assigned Claims, the 503(b)(9) Fund, the
                  Priority Reserves (defined below) and all causes of action and other rights,
                  title, and assets of the Debtors will be transferred to the Litigation Trust,
                  including without limitation all claims and causes of action arising under
                  chapter 5 of the Bankruptcy Code and any derivative claims of the
                  Debtors;

 5
   Interested parties should refer to the PSA Motion and the Plan Support Agreement attached thereto for a complete
 recitation of the terms and conditions of the Plan Support Agreement.

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          2)     On the Plan Effective Date, the Secured Parties’ Adequate Protection
                 Liens and Adequate Protection Superpriority Claims (as such terms are
                 defined in the Cash Collateral Order) shall be disallowed, waived, and
                 automatically cancelled;
          3)     On the Plan Effective Date, the Secured Parties shall release $2,000,000 of
                 Cash Collateral (as defined in the Cash Collateral Order) to fund the
                 503(b)(9) Fund; and
          4)     The Plan shall provide for the creation of a reserve comprised of the
                 proceeds generated by the sale of precious-metal inventory other than any
                 Undisputed Collateral (the "Ownership Reserve").


                    V.      SUMMARY OF THE PLAN OF LIQUIDATION

       THIS SECTION PROVIDES A SUMMARY OF THE STRUCTURE, CLASSIFICA-
 TION, TREATMENT, AND IMPLEMENTATION OF THE PLAN AND IS QUALIFIED IN
 ITS ENTIRETY BY REFERENCE TO THE PLAN, WHICH ACCOMPANIES THIS
 DISCLOSURE STATEMENT, AND TO THE EXHIBITS ATTACHED THERETO.

      THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN WILL
 CONTROL THE TREATMENT OF CREDITORS AND INTEREST HOLDERS UNDER THE
 PLAN AND WILL, UPON THE EFFECTIVE DATE, BE BINDING UPON HOLDERS OF
 CLAIMS AGAINST, OR INTERESTS IN, THE DEBTORS, THE LITIGATION TRUSTEE,
 AND OTHER PARTIES IN INTEREST.

 19.      Purpose and Effect of the Plan.

         Chapter 11 is the principal business reorganization and liquidation chapter of the
 Bankruptcy Code. Under Chapter 11, a debtor is authorized to reorganize or liquidate its
 business for the benefit of its creditors and shareholders. Upon the filing of a petition for relief
 under Chapter 11, section 362 of the Bankruptcy Code provides for an automatic stay of
 substantially all acts and proceedings against the debtor and its property, including all attempts to
 collect claims or enforce liens that arose prior to the commencement of the Chapter 11 case.

         A plan of liquidation sets forth the means for satisfying claims against and interests in a
 debtor. Confirmation of a plan of liquidation by the Bankruptcy Court makes the plan binding
 upon the debtor, any issuer of securities under the plan, any person or entity acquiring property
 under the plan, and any creditor of or equity security holder in the debtor, whether or not such
 creditor or equity security holder (i) is impaired under or has accepted the plan or (ii) receives or
 retains any property under the plan. Subject to certain limited exceptions and other than as
 provided in the plan itself or the confirmation order, the confirmation order discharges the debtor
 from any debt that arose prior to the date of confirmation of the plan and substitutes therefor the
 obligations specified under the confirmed plan, and terminates all rights and interests of equity
 security holders.




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 20.      Substantive Consolidation.

         Solely in connection with Distributions to be made to the holders of Allowed Claims, the
 Plan is predicated upon, and it is a condition precedent to confirmation of the Plan, that the Court
 provide in the Confirmation Order for the substantive consolidation of the Estates of the Debtors
 into a single Estate for purposes of the Plan and the Distributions thereunder. To the extent a
 Claim (including any Disputed Claim) becomes an Allowed Claim, such Claim shall be satisfied
 in accordance with the provisions of the Plan.

          Pursuant to the Confirmation Order, upon the Effective Date and without further order of
 the Court, except as expressly provided in the Plan, (i) all assets and liabilities of the
 substantively consolidated Debtors will be deemed to be merged solely for purposes of the Plan
 and Distributions to be made thereunder, (ii) the obligations of each Debtor will be deemed to be
 the obligation of the substantively consolidated Debtors solely for purposes of the Plan and
 Distributions thereunder, (iii) any Claims filed or to be filed in connection with any such
 obligations will be deemed Claims against the substantively consolidated Debtors, (iv) each
 Claim filed in the Chapter 11 Case of any Debtor will be deemed filed against the Debtors in the
 consolidated Chapter 11 Cases in accordance with the substantive consolidation of the assets and
 liabilities of the Debtors, (v) all transfers, disbursements and distributions made by any Debtor
 hereunder will be deemed to be made by the substantively consolidated Debtors, and (vi) all
 guarantees of the Debtors of the obligations of any other Debtors shall be deemed eliminated so
 that any Claim against any Debtor and any guarantee thereof executed by any other Debtor and
 any joint or several liability of any of the Debtors shall be deemed to be one obligation of the
 substantively consolidated Debtors. Holders of Allowed Claims in each Class shall be entitled to
 their share of assets available for distribution to such Class without regard to which Debtor was
 originally liable for such Claim. Notwithstanding the foregoing, such substantive consolidation
 shall not affect (a) the legal and corporate structure of the Reorganized Debtors, (b) guarantees
 that are required to be maintained post-Effective Date in connection with executory contracts or
 unexpired leases that were entered into during the Chapter 11 Cases or that have been, or will
 hereunder be, assumed, pursuant to the express terms of the Plan. The substantive consolidation
 proposed in the Plan shall not affect each Debtor's obligation to file the necessary operating
 reports and pay any required fees pursuant to 28 U.S.C. § 1930(a)(6). Such obligations shall
 continue until an order is entered closing, dismissing or converting each such Debtor's Chapter
 11 Case.

         Unless the Court has approved the substantive consolidation of the Estates by a prior
 order, the Plan shall serve as, and shall be deemed to be, a motion for entry of an order
 substantively consolidating the Estates as set forth in the Plan. If no objection to substantive
 consolidation under the Plan is timely filed and served, then the holders of Claims will be
 deemed to have consented to substantive consolidation for the purpose of the Plan only and the
 Court may approve substantive consolidation of the Debtors' Estates in the Confirmation Order.
 If such objection to the substantive consolidation provided for in the Plan is timely filed and
 served, a hearing with respect to the substantive consolidation of the Estates and the objections
 thereto shall be scheduled by the Court, which hearing may coincide with the Confirmation
 Hearing.



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         In the Second Circuit, substantive consolidation is appropriate when: (i) "creditors dealt
 with the entities as a single economic unit and did not rely on their separate identity in extending
 credit;" or (ii) "the affairs of the debtors are so entangled that consolidation will benefit all
 creditors." In re Augie/Restivo Baking Co., 860 F.2d 515, 518 (2d Cir. 1988) (internal citations
 omitted). It is well accepted that substantive consolidation is a flexible concept and that a
 principal question is whether creditors are adversely affected by consolidation and, if so, whether
 the adverse effects can be eliminated. In re Jennifer Convertibles, Inc., 447 B.R. 713, 724
 (Bankr. S.D.N.Y. 2011). Further, the Bankruptcy Court retains the power to order less than
 complete consolidation. First National Bank v. Giller, 962 F.2d 796, 799 (8th Cir. 1992).

         The Debtors believe that substantive consolidation is warranted here because, among
 other reasons, the Debtors historically operated on a consolidated basis with respect to their cash
 management system and other books and records. For purposes of the Debtors' negotiation of
 the Intercreditor Agreement and Credit and Lease Agreements with the Secured Parties as well
 as contracts and agreements with their other customers, the Debtors believe that the Secured
 Parties and such other customers treated the Debtors' operations, assets, and liabilities as unitary.
 Moreover, the majority of the assets in these Chapter 11 Cases are owned by Debtor Miami
 Metals II.

         Indeed, given the nominal amount of assets held by Debtors other than Miami Metals II,
 and the expense of generating separate plans of reorganization for each of the Debtors, the
 Debtors believe that the overall effect of substantive consolidation will be more beneficial than
 harmful to creditors and will allow for greater efficiencies and simplification in administering the
 Plan. Accordingly, the Debtors believe that substantive consolidation of the Debtors' Estates
 under the terms of the Plan will not adversely impact the treatment of any of the Debtors'
 creditors, but rather will reduce administrative expenses by automatically eliminating duplicative
 claims asserted against more than one of the Debtors, decreasing the administrative difficulties
 and costs related to the administration of ten (10) separate Debtor's Estates, as well as
 eliminating the need to determine professional fees on a case-by-case basis and streamlining the
 administration of the Plan.

 21.      The Litigation Trust.

         Upon the Effective Date of the Plan, there shall be established a Litigation Trust (the
 "Litigation Trust") pursuant to the terms of the Litigation Trust agreement (the "Trust
 Agreement") which will be filed as part of the Plan Supplement.

         The Estate Litigation Fund, Assigned Claims, 503(b)(9) Fund, Priority Reserves, and all
 other rights, title, and assets of the Debtors will be transferred to the Litigation Trust, including
 without limitation all claims and causes of action arising under chapter 5 of the Bankruptcy Code
 and any derivative claims of the Debtors.

         The Litigation Trust shall resolve all Claims remaining against the Debtors as of the
 Effective Date of the Plan and shall make periodic distributions to holders of Claims that are
 deemed to be "allowed" by the Litigation Trust or the Bankruptcy Court in accordance with the
 terms of the Plan and Trust Agreement.


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 22.      Treatment of Unclassified Claims Under the Plan.

          A.    Administrative Claims.

    FOR PURPOSES OF THE PLAN AND THIS DISCLOSURE STATEMENT,
 ADMINISTRATIVE CLAIMS DO NOT INCLUDE CLAIMS ASSERTED PURSUANT
                       TO 11 U.S.C. § 503(b)(9).

       503(b)(9) CLAIMS ARE BEING TREATED PURSUANT TO ARTICLE V, § 22(c)
                                    BELOW.

          Administrative Claims are Claims for payment of an administrative expense of a kind
 specified in section 503(b) or 1114(e)(2) of the Bankruptcy Code and are entitled to priority
 pursuant to section 507(a)(1) of the Bankruptcy Code, including, but not limited to, (a) the
 actual, necessary costs and expenses, incurred after the Petition Date, of preserving the Estates
 and operating the businesses of the Debtors, including wages, salaries, or commissions for
 services rendered after the commencement of the Chapter 11 Cases, (b) Professional Fee Claims,
 (c) all Allowed Claims that are entitled to be treated as Administrative Claims pursuant to a Final
 Order of the Bankruptcy Court under section 546(c)(2)(A) of the Bankruptcy Code, and (d) all
 Claims that the Debtors have agreed to grant treatment as an Allowed Administrative Claim,
 provided however, that for purposes of the Plan and this Disclosure Statement, Administrative
 Claims do not include claims asserted pursuant to 11 U.S.C. § 503(b)(9).

        Claims asserted pursuant to 11 U.S.C. § 503(b)(9) are being treated in Article V, §
 22(C) below.

          On or as soon as reasonably practicable after the later of (i) the Effective Date of the Plan
 or (ii) the date such Administrative Claim becomes an Allowed Administrative Claim, a holder
 of an Allowed Administrative Claim shall receive, in full satisfaction, settlement, release and
 discharge of, and in exchange for, such allowed Administrative Claim, (a) cash equal to the
 unpaid portion of the face amount of such allowed Administrative Claim or (b) such other
 treatment as to which such Holder and the Debtors or the Litigation Trust, as applicable, shall
 have agreed upon in writing.

          B.    Priority Tax Claims.

         Priority Tax Claims are Unsecured Claims asserted by federal, state, and local
 governmental authorities for taxes specified in section 507(a)(8) of the Bankruptcy Code, such as
 certain income taxes, property taxes and excise taxes. These Unsecured Claims are given a
 statutory priority in right of payment.

         On or as soon as reasonably practicable after the later of (i) the Plan Effective Date or (ii)
 the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, a holder of an
 Allowed Priority Tax Claim shall receive, in full satisfaction, settlement, release and discharge
 of, and in exchange for, such Allowed Priority Tax Claim, (a) cash equal to the unpaid portion of
 the face Amount of such Allowed Priority Tax Claim or (b) such other treatment as to which


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 such holder and the Debtors or the Litigation Trust, as applicable, shall have agreed upon in
 writing.

          C.    503(b)(9) Claims.

         On or as soon as reasonably practicable after the later of (i) the Effective Date or (ii) the
 date such 503(b)(9) Claim becomes an Allowed 503(b)(9) Claim, a Holder of an Allowed
 503(b)(9) Claim shall receive, in full satisfaction, settlement, release and discharge of, and in
 exchange for, such Allowed 503(b)(9) Claim, (i) a pro rata distribution from the 503(b)(9) Fund
 and (ii) subject to the GUC Sharing Formula, a pro rata distribution of Litigation Recoveries.

        Once holders of Allowed 503(b)(9) Claims recover 75% on account of their Allowed
 503(b)(9) Claim(s), then until all Allowed 503(b)(9) Claims are paid in full, 75% of Litigation
 Recoveries shall be made available for distribution to Holders of Allowed 503(b)(9) claims and
 25% of Litigation Recoveries shall be made available for distribution to Holders of Allowed
 General Unsecured Claims (the "GUC Sharing Formula").

        The failure to object to confirmation of the Plan by a Holder of an Allowed
 503(b)(9) Claim shall be deemed to be such Holder's consent to receive treatment for such
 Claim that is different from that set forth in section 1129(a)(9) of the Bankruptcy Code.

          D.    Title Property Claims.

        Claims ("Title Property Claims") by entities to ownership of precious metal or the
 proceeds thereof in the possession of the Debtors ("Title Property") asserted pursuant the
 Uniform Procedures will be treated as follows:

         1)     When a Holder of a Title Property Claim has also filed a Proof of Claim against
 the Debtors’ Estates based on the same conduct or transaction(s) underlying their Title Property
 Claim(s) (a "Non-Title Property Claim"), no distribution will be made on account of such
 Holder’s Non-Title Property Claim(s) until the Title Property Claim is withdrawn, adjudicated
 by Final Order of the Bankruptcy Court, or resolved by the agreement of the parties and the Non-
 Title Property Claim becomes an Allowed Claim.

         2)      A Holder of a Title Property Claim may waive or withdraw its Title Property
 Claim(s) at any time prior to the Effective Date of the Plan, in which case it will recover on
 account of its Allowed Non-Title Property Claim(s), including any Allowed 503(b)(9) Claim or
 General Unsecured Claim, in the same manner and at the same time as other Holders of
 similarly-situated Allowed Claims. If a Holder of a Title Property Claim elects to waive or
 withdraw its Title Property Claim(s) prior to the Effective Date of the Plan, all litigation with
 respect to its Title Property Claim (whether under the Uniform Procedures or otherwise) shall be
 deemed discontinued with prejudice, and the Secured Parties and the Debtors will waive any
 right they may have to seek to recover litigation expenses incurred by the Debtors and the
 Secured Parties in connection with such Title Property Claim.

         3)       Upon entry of a Final Order determining that a Holder of a Title Property Claim
 holds title to all or a portion of such Title Property, or the agreement of the parties that a Holder

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  of a Title Property Claim holds title to all or a portion of such Title Property (in each case, with
  respect to the portion of the Title Property to which such entity is determined to hold title, an
  "Allowed Title Property Claim Holder"), the Allowed Title Property Claim Holder shall receive
  its Title Property from the Ownership Reserve; provided, however, that an appropriate portion of
  the Title Property will be withheld from such recovery so as to satisfy the Holdback Amount
  (defined below) until such time as (i) the amounts held in the Ownership Reserve exceed the
  aggregate face amount of the outstanding Title Property Claims, or (ii) all Title Ownership
  Claims have been resolved by the parties or adjudicated pursuant to a Final Order.

          4)      In the event that, at any time, the Ownership Reserve does not exceed the
  aggregate face amount of the Allowed Title Property Claims plus the remaining outstanding Title
  Property Claims, then each Allowed Title Property Claim Holder shall recover only a portion of
  their Title Property such that a sufficient amount of assets remain in the Ownership Reserve to
  ensure a pro rata distribution to all Holders of outstanding Title Property Claims from the
  Ownership Reserve assuming that all outstanding Title Property Claims become Allowed Title
  Property Claims. The portion of any Title Property that is withheld from immediate distribution
  in accordance with the foregoing is defined as the "Holdback Amount" herein. A portion of the
  Holdback Amount will be distributed to Allowed Title Property Claim Holders on a periodic
  basis as Title Property disputes are resolved. Upon the final adjudication of all Title Property
  Claims, if the Ownership Reserve does not exceed the aggregate face amount of the Allowed
  Title Property Claims, then each Allowed Title Property Claim Holder shall recover their pro
  rata share of the Ownership Reserve.

          5)      The Litigation Trust shall be granted standing to seek to surcharge the Title
  Property of an Allowed Title Property Claim Holder for the costs incurred by the Debtors’
  Estates in liquidating such Title Property for the benefit of such Holder (if any).

          6)      Upon entry of a Final Order determining that a Holder of a Title Property Claim
  does not hold title to such Title Property, or if a Holder of a Title Property Claim elects at any
  time after the Plan Effective Date to waive or withdraw its Title Property Claim, such Holder
  will recover on account of any Allowed Non-Title Property Claim it may have against the
  Debtors’ Estates in the same manner as other holders of similarly-situated Allowed Claims
  (retroactive to the Plan Effective Date).

           E.    Treatment of Classified Claims

Class Description       Proposed Treatment                         Projected Recovery
Class 1: Secured        On or as soon as reasonably practicable 100%
claims other than the   after the later of (i) the Effective Date
Claims of the Secured   or (ii) the date such Miscellaneous
Parties (a              Secured Claim becomes an allowed
"Miscellaneous          Miscellaneous Secured Claim, a holder
Secured Claim")         of an allowed Miscellaneous Secured
                        Claim shall receive, in full satisfaction,
                        settlement, release and discharge of,
                        and in exchange for, such allowed

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Class Description        Proposed Treatment                      Projected Recovery
                         Miscellaneous Secured Claim, (a) cash
                         equal to the value of such Allowed
                         Miscellaneous Secured Claim, (b) a
                         return of the holder’s collateral
                         securing the Miscellaneous Secured
                         Claim, (c) such treatment required
                         under section 1124(2) of the
                         Bankruptcy Code for such Claim to be
                         rendered unimpaired or (d) such other
                         treatment as to which such Holder and
                         the Debtors or the Litigation Trust, as
                         applicable, shall have agreed upon in
                         writing.

                         Not impaired; non-voting.
Class 2: Priority Non-   On or as soon after the Effective Date 100%
Tax Claims               as practicable, unless otherwise agreed
                         to by the Debtors and the holder of an
                         Allowed Priority Non-Tax Claim (a
                         "Priority Non-Tax Claim") (in which
                         event such other agreement will
                         govern), each holder of an allowed
                         Priority Non-Tax Claim against the
                         Debtors shall receive on account of and
                         in full and complete settlement, release
                         and discharge of such claim, at the
                         Debtors’ or Litigation Trust’s election,
                         as applicable, (i) cash in the amount of
                         such Allowed Priority Non-Tax Claim
                         in accordance with section 1129(a)(9)
                         of the Bankruptcy Code and/or (ii) such
                         other treatment required to render such
                         claim unimpaired pursuant to section
                         1124 of the Bankruptcy Code.

                         Not impaired; non-voting.
Class 3: Secured Party   On or as soon after the Effective Date      The Debtors are unable to
Claims                   as practicable, the Secured Parties shall   project recoveries to Holders of
                         receive on account of and in full and       Class 3 Claims at this time.
                         complete settlement, release and            Recoveries are dependent upon
                         discharge of, their Allowed Secured         multiple factors, including but
                         Party Claim, their pro rata share of (i)    not limited to: (i) the outcome of
                         the consideration previously provided       the      Uniform        Procedures
                         under the Settlement Agreement and          Litigation, (ii) the outcome of
                         the Cash Collateral Orders, (ii) funds in   the litigation of claims against


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Class Description         Proposed Treatment                         Projected Recovery
                          the Ownership Reserve that exceed the      the Debtors' insiders, auditors,
                          aggregate face amount of outstanding       and other third parties, and (iii)
                          Title Property Claims, and (iii) any       the amount of the Secured
                          unused portion of the Priority Reserves.   Parties' deficiency claim.

                          After giving effect to the foregoing
                          distributions, any Allowed deficiency
                          claim of the Secured Parties shall be
                          treated as an Allowed General
                          Unsecured Claim

                          Impaired; voting.
Class 4: General          On the Effective Date, each holder of      The Debtors are unable to
Unsecured Claims          an allowed General Unsecured Claim         project recoveries to Holders of
                          shall receive, in full satisfaction,       Class 4 Claims at this time.
                          settlement, release and discharge of,      Recoveries are dependent upon
                          and in exchange for, such Allowed          multiple factors, including but
                          General Unsecured Claim, interests in      not limited to: (i) the outcome of
                          the Litigation Trust (“Trust Units”)       the      Uniform        Procedures
                          commensurate with the dollar value of      Litigation, (ii) the outcome of
                          their Allowed General Unsecured            the litigation of claims against
                          Claims on a 1 Trust Unit per $1,000 in     the Debtors' insiders, auditors,
                          General Unsecured Claim amount.            and other third parties, and (ii)
                          Fractional Trust Units shall not be        the amount of the Secured
                          issued, and allowed General Unsecured      Parties' deficiency claim.
                          Claims will be rounded up or down to
                          the nearest whole Trust Unit.

                          Holders of Allowed General Unsecured
                          Claims shall receive their pro rata
                          share of Litigation Recoveries available
                          after the payment in full of all Allowed
                          503(b)(9) Claims, except as provided
                          for in the GUC Sharing Formula.

                          Impaired; voting.
Class 5: Convenience      Each     Holder      of    an    Allowed $2,500
Claims (Claims (i) in     Convenience Claim shall receive, in
an amount no greater      full and final satisfaction of such Claim
than $2,500, or (ii) in   a distribution in cash equal to the lesser
an amount no greater      of (i) the amount of the Holder's
than $20,000 which        Allowed Convenience Claim or (ii)
has been voluntarily      $2,500,on the Initial Distribution Date
reduced to $2,500 by      for the Litigation Trust.
the holder thereof
                          Impaired; voting.

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Class Description       Proposed Treatment                          Projected Recovery
pursuant to an election
made on such holder’s
Ballot or any other
agreement in writing)

Class 6: Intercompany    On the Effective Date, all intercompany 0%
Claims                   claims shall be deemed eliminated,
                         cancelled and/or extinguished, except
                         as otherwise provided for in the Plan.

Class 7: Subordinated    On the Effective Date, all Subordinated 0%
Claims                   Claims shall be deemed eliminated,
                         cancelled and/or extinguished and each
                         holder thereof shall not be entitled to,
                         and shall not receive or retain, any
                         property under the Plan on account of
                         such Subordinated Claims.
Class 8: Intercompany    On the Effective Date, all intercompany 0%
Interests and Interests  interests shall be cancelled except as
in Miami Metals I,       otherwise provided in the Plan.
Inc. and Miami Metals
II, Inc.                On the Effective Date, all interests in
                        Miami Metals I, Inc. and Miami Metals
                        II, Inc. shall be cancelled and each
                        holder thereof shall not be entitled to,
                        and shall not receive or retain, any
                        property or interest in property under
                        the Plan on account of such interests.

  23.      Classification and Treatment of Claims and Interests.

         Section 1122 of the Bankruptcy Code provides that a plan of liquidation must classify the
  claims and interests of a debtor's creditors and equity interest holders. In accordance with
  Section 1122, the Plan divides claims and interests into classes and sets forth the treatment for
  each class (other than Administrative Claims and Priority Tax Claims which, pursuant to Section
  1123(a)(1), do not need to be classified). A plan proponent also is required, under Section 1122
  of the Bankruptcy Code, to classify claims against and interests in the debtor into classes that
  contain claims and interests that are substantially similar to the other claims and interests in such
  Class.

          The Debtors believe that the Plan has classified all Claims and Interests in compliance
  with the provisions of Section 1122 and applicable case law, but it is possible that a holder of a
  Claim or Interest may challenge the classification of Claims and Interests and that the
  Bankruptcy Court may find that a different classification is required for the Plan to be confirmed.
  In that event, the Debtors may, to the extent permitted by the Bankruptcy Code, the Plan, and the
  Bankruptcy Court, make such reasonable modifications of the classifications under the Plan to

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 permit confirmation and to use the Plan acceptances received in this Solicitation for purposes of
 obtaining the approval of the reconstituted Class or Classes of which each accepting holder
 ultimately is deemed to be a member. Any such reclassification could adversely affect the Class
 in which such holder initially was a member, or any other Class under the Plan, by changing the
 composition of such Class and the vote required of that Class for approval of the Plan.

         The amount of the Debtors’ assets to be distributed to holders of Allowed Claims and
 Interests after payment of Allowed Administrative and Priority Claims that are not classified, and
 the amount of any Impaired Claim that is classified or the aggregate amount of Impaired Claims
 in a class that ultimately are allowed by the Bankruptcy Court, may vary from the Plan Fund or
 allowed amount of such Claim or Claims. Thus, the value of the property that ultimately will be
 received by a particular holder of an Allowed Claim under the Plan may be adversely or
 favorably affected by the actual amount in which any Claim is ultimately allowed.

        The classification of Claims and Interests and the nature of distributions to members of
 each Class are summarized above. The Debtors believe that the consideration, if any, provided
 under the Plan to holders of Claims and Interests reflects an appropriate resolution of their
 Claims and Interests, taking into account the differing nature and priority (including applicable
 contractual and statutory subordination) of such Claims and Interests and the fair value of the
 Debtors' assets.

 24.      Reservation of Rights Regarding Claims and Causes of Action.

         Except as otherwise explicitly provided in the Plan, nothing shall affect the Debtors' or
 the Litigation Trustee's rights and defenses, both legal and equitable, with respect to any Claims
 and Interests, including, but not limited to, all rights with respect to legal and equitable defenses
 to alleged rights of setoff or recoupment. The Plan Supplement will include a list of all retained
 Causes of Action.

         Except as otherwise provided in the Plan or the Confirmation Order, or in any contract,
 instrument, release, indenture or other agreement entered into in connection with the Plan, (i) any
 and all rights, Claims, demands, causes of action, defenses, and counterclaims accruing to the
 Debtors or the Estates (including, without limitation, any and all Litigation Claims) shall remain
 assets of and vest in the Litigation Trust, whether or not litigation relating thereto is pending on
 the Effective Date and whether or not any such rights, Claims, causes of action, defenses, and
 counterclaims have been listed in the Schedules or otherwise listed or referred to in this Plan, the
 Disclosure Statement, or any other document filed with the Bankruptcy Court, and (ii) neither the
 Debtors nor the Estates nor the Litigation Trustee waive, relinquish, or abandon (nor shall they
 be estopped or otherwise precluded from asserting) any right, Claim, cause of action, defense, or
 counterclaim that constitutes property of the Estates, (a) whether or not such right, Claim, cause
 of action, defense or counterclaim has been listed or referred to in the Schedules, this Plan, the
 Disclosure Statement, or any other document filed with the Bankruptcy Court, (b) whether or not
 such right, Claim, cause of action, defense, or counterclaim is currently known to the Debtors or
 Estates or the Litigation Trustee, and (c) whether or not a defendant in any litigation relating to
 such right, Claim, cause of action, defense, or counterclaim filed a Proof of Claim in the Chapter
 11 Cases, filed a notice of appearance or any other pleading or notice in the Chapter 11 Cases,
 voted for or against this Plan, or received or retained any consideration under this Plan. Without

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 in any manner limiting the scope of the foregoing, notwithstanding any otherwise applicable
 principle of law or equity, including, without limitation, any principles of judicial estoppel, res
 judicata, collateral estoppel, issue preclusion, or any similar doctrine, the failure to list, disclose,
 describe, identify, or refer to a right, Claim, cause of action, defense, or counterclaim, or
 potential right, Claim, cause of action, defense, or counterclaim in the Schedules, this Plan, the
 Disclosure Statement, or any other document filed with the Bankruptcy Court, shall in no manner
 waive, eliminate, modify, release, or alter the Litigation Trustee’s right to commence, prosecute,
 defend against, settle, and realize upon any rights, Claims, causes of action, defenses, or
 counterclaims that the Debtors or the Estates or the Litigation Trust have or may have as of the
 Confirmation Date. The Litigation Trustee may commence, prosecute, defend against, recover
 on account of, and settle all rights, Claims, causes of action, defenses, and counterclaims in its
 sole discretion in accordance with what is in the best interests, and for the benefit, of the
 Litigation Trust, including through use of Federal Rule of Bankruptcy Procedure 2004.

 25.      Distributions Under the Plan

         The Effective Date is conditioned upon the occurrence of those events set forth in Article
 11.2 of the Plan. The Debtors anticipate that distributions contemplated by the Plan will occur as
 soon as reasonably practicable after the Effective Date in accordance with the terms of the
 Litigation Trust Agreement. Except as set forth in the Plan, the Litigation Trustee shall make all
 distributions required under the Plan after the Effective Date.

         Cash payments made pursuant to the Plan shall be in U.S. funds, by the means agreed to
 by the payor and the payee, including by check or wire transfer, or, in the absence of an
 agreement, such commercially reasonable manner as the Litigation Trustee shall determine in its
 sole discretion.

 26.      Distributions for Claims Allowed as of the Effective Date

         Distributions to holders of Allowed Claims shall be made by the Litigation Trustee (a) at
 the addresses set forth on the Proofs of Claim filed by such holders (or at the last known
 addresses of such holders if no Proof of Claim is filed or if the Debtors have been notified of a
 change of address), (b) at the addresses set forth in any written notices of address changes
 delivered to the Debtors or Litigation Trustee after the date of any related Proof of Claim, or (c)
 at the addresses reflected in the Schedules if no Proof of Claim has been filed and the Debtors or
 the Litigation Trustee have not received a written notice of a change of address. If any holder’s
 distribution is returned as undeliverable, no further distributions to such holder shall be made
 unless and until the Litigation Trustee is notified of such holder’s then current address, at which
 time all missed distributions shall be made to such holder without interest. Amounts in respect
 of undeliverable distributions shall be returned to the Litigation Trustee until such distributions
 are claimed. Nothing contained in the Plan shall require the Debtors or the Litigation Trustee to
 locate any holder of an Allowed Claim.




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 27.      Resolution and Treatment of Disputed, Contingent, and Unliquidated Claims and
          Disputed Interests

          A.    Objections to Claims.

         All objections to Claims must be filed and served on the holders of such Claims by the
 Claims Objection Deadline, which is one (1) year after the Effective Date, unless such date is
 extended by the Bankruptcy Court upon request by the Debtors or the Litigation Trustee. If an
 objection has not been filed relating to a Proof of Claim or a scheduled Claim by the Claims
 Objection Deadline, the Claim to which the Proof of Claim or scheduled Claim relates will be
 treated as an Allowed Claim if such Claim has not been allowed earlier.

          B.    Authority to Prosecute Objections.

          After the Effective Date, the Litigation Trustee will have the authority to file objections,
 settle, compromise, withdraw or litigate to judgment objections to Claims. Except as provided
 below, from and after the Effective Date, the Litigation Trustee may settle or compromise any
 Disputed Claim without approval of the Bankruptcy Court.

          C.    Treatment of Disputed Claims.

        Notwithstanding any other provisions of the Plan, no payments or distributions will be
 made on account of a Disputed Claim, or, if less than the entire Claim is a Disputed Claim, the
 portion of a Claim that is disputed, until such Claim becomes an Allowed Claim.

          D.    Disputed Claim Reserve.

         Prior to making any distributions to holders of Allowed 503(b)(9) Claims and Allowed
 Claims in Classes 1-5, the Litigation Trustee shall establish appropriate reserves for Disputed
 Claims in the Disputed Claim Reserve to withhold from any such distributions 100% of
 distributions to which holders of Disputed Claims in such Classes would be entitled under the
 Plan as of such date if such Disputed Claims were Allowed Claims in their Disputed Claim
 Amount, provided however, that (i) the Litigation Trustee may release funds to the Secured
 Parties to the extent the amount of the Disputed Claim Reserve exceeds the amount of Disputed
 Claims, and (ii) the Litigation Trustee may set off against the Dispute Claim Reserve claims of
 any nature whatsoever that the Litigation Trustee or Debtors may have against the holder of a
 Disputed Claim.

          E.    Distributions on Account of Disputed Claims Once They Are Allowed and
                Additional Distributions on Account of Previously Allowed Claims.

         The Litigation Trustee will make distributions from the Disputed Claims Reserve (a) on
 account of any Disputed Claim that has become an Allowed Claim during the preceding calendar
 quarter, and (b) on account of previously Allowed Claims, of property that would have been
 distributed to such Claim holders on the dates distributions previously were made to holders of
 Allowed Claims had the Disputed Claims that have become Allowed Claims been Allowed on
 such dates. Such distributions will be made pursuant to the provisions of the Plan governing the
 distribution to Allowed Claims or Interests.

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 28.      Post-Consummation Operations of the Debtors

          A.       Continued Corporate Existence.

         Under the Plan, subject to the provisions of Section 8.3 of Plan, the Debtors will be
 dissolved and cease to exist for all purposes without the necessity for any other or further actions
 to be taken by or on behalf of the Debtors or payments to be made in connection therewith. As
 soon as practicable after the Effective Date, the Liquidating Agent shall effectuate dissolution of
 the United States Debtors in accordance with applicable non-bankruptcy law. Notwithstanding
 this provision, nothing herein shall affect the obligation of the Litigation Trustee to pay quarterly
 fees to the Office of the United States Trustee in accordance with 28 U.S.C. § 1930(a)(6).

 29.      Summary of Releases and Exculpations Under the Plan

         Under the Plan, the Debtors have agreed to the following releases, exculpations and
 injunctions:

                  The Plan shall provide certain customary exculpation provisions, which shall
                   include a full exculpation from liability in favor of the Debtors, the Secured
                   Parties, the Committee, and the members of the Committee, and all of the
                   foregoing parties’ respective current officers, directors, members, employees,
                   advisors, attorneys, professionals, and other representatives from any and all
                   claims and causes of action arising after November 2, 2018 relating to any act
                   taken or omitted to be taken in connection with, or related to, formulating,
                   negotiating, preparing, disseminating, implementing, administering,
                   soliciting, confirming or consummating the Settlement Agreement, PSA,
                   Plan, Disclosure Statement or any contract, instrument, release or other
                   agreement or document created or entered into in connection with the Plan,
                   with the sole exception of the fraud, willful misconduct or gross negligence,
                   as determined by a final order of a court of competent jurisdiction.

                  Under the Plan, all Entities who have held, hold, or may hold Claims, rights,
                   causes of action, liabilities, or any interests based on any act or omission,
                   transaction or other activity of any kind or nature related to RTMM or any
                   officer, director, or employee thereof in their respective capacities as such
                   shall be precluded and permanently enjoined on and after the Effective Date
                   from (a) the commencement or continuation in any manner of any claim,
                   action, or other proceeding of any kind under any law other than the
                   Bankruptcy Code, including without limitation (i) the Mexican Political
                   Constitution of the United Mexican States, (ii) the Mexican Criminal Code
                   for Mexico City, and (iii) Private Aid Entities for the Federal District Act
                   (collectively, "Mexican Laws") with respect to any Claim, Interest or any
                   other right or claim against RTMM which is possessed or may possess prior
                   to the Effective Date, (b) the enforcement, attachment, collection or recovery
                   by any manner or means of any judgment, award, decree or other with
                   respect to any Claim, Interest or any other right or claim against RTMM
                   under any law other than the Bankruptcy Code, including without limitation

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                  the Mexican Laws, which such entity possessed or may possess prior to the
                  Effective Date, (c) the creation, perfection or enforcement of any
                  encumbrances of any kind with respect to any Claim, Interest or any other
                  right or claim against RTMM under any law other than the Bankruptcy
                  Code, including without limitation the Mexican Laws, which it possessed or
                  may possess prior to the Effective Date, and (d) the assertion of any Claims
                  under any law other than the Bankruptcy Code, including without limitation
                  the Mexican Laws that are released, exculpated, settled or otherwise
                  discharged hereby.

                 Under the Plan, each Creditor and Interest Holder, including such entities’
                  predecessors, successors and assigns, subsidiaries, affiliates, current and
                  former officers, directors, principals, shareholders, members, partners,
                  employees, agents, financial advisors, attorneys, accountants, investment
                  bankers, consultants, representatives and other professionals, shall be
                  deemed to provide a full release to the Secured Parties and their respective
                  predecessors, successors and assigns, subsidiaries, affiliates, current and
                  former officers, directors, principals, shareholders, members, partners,
                  employees, agents, financial advisors, attorneys, accountants, consultants,
                  representatives and other professionals (in their respective capacities as
                  such) (the “Secured Party Releasees”) and their respective property from
                  any and all claims, causes of action and any other debts, obligations, rights,
                  suits, damages, actions, derivative claims, remedies, and liabilities
                  whatsoever, whether known or unknown, foreseen or unforeseen, existing as
                  of the Effective Date, in law, at equity, or otherwise, whether for tort,
                  contract, or otherwise, based in whole or in part upon any act or omission,
                  transaction, or other occurrence or circumstances existing or taking place
                  prior to or on the Effective Date, in each case arising from or related in any
                  way to the Debtors, the Chapter 11 Cases, the Debtors’ liquidation, any
                  postpetition financing, any sale of the Debtors’ interests in property, the Plan
                  or the subject matter of, or the transactions or events giving rise to, any
                  Claim that is treated in the Plan, including those that the Debtors would have
                  been legally entitled to assert or that any Holder of a Claim against or
                  Interest in the Debtors or any other entity could have been legally entitled to
                  assert derivatively or on behalf of the Debtors or their estates, other than
                  claims or causes of action arising out of or related to any act or omission of a
                  Secured Party Releasee that constitutes fraud, gross negligence, or willful
                  misconduct.

        The Debtors have concluded that the third party releases to be provided to the
 Secured Party Releasees are justified in light of the substantial contributions that the
 Secured Parties have made to the administration of the Chapter 11 Cases, to facilitate
 confirmation of the Plan and to the conclusion of the Chapter 11 Cases. In connection with
 confirmation of the Plan, the Debtors will have to demonstrate that the releases fall within
 the standards set by the United States Court of Appeals for the Second Circuit in Deutsche
 Bank AG v. Metromedia Fiber Network, Inc. (In re Metromedia Fiber Network, Inc.), 416
 F.3d 136 (2d Cir. 2005). Under the Metromedia test, third party releases may be approved

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 when the provisions are important to a debtor's plan; where the claims are “channeled” to
 a settlement fund, rather than extinguished; where the enjoined claims would indirectly
 impact the debtor's reorganization by way of indemnity or contribution; where the
 released party provides substantial consideration; where the plan otherwise provides for
 the full payment of the enjoined claims; or where the creditors consent. Metromedia, 416
 F.3d at 142.

 30.      Directors and Officers of the Reorganized Debtors

         On the Effective Date, the Board of Directors shall be disbanded and relieved of any
 further duties, and the Litigation Trustee shall be appointed and authorized to execute, deliver,
 file or record such documents, instruments, releases and other agreements and to take such
 actions as may be necessary or appropriate to effectuate and further evidence the terms and
 conditions of the Plan.

 31.      Vesting of Assets of the Debtors Upon Confirmation

         All property of the Debtors' Estates, after giving effect to the transactions set forth in the
 Plan and the dismissal of the cases of Debtor RTMM and Debtor Republic Shanghai, shall revest
 in the Litigation Trust on the Plan Effective Date in accordance with Section 8.2 of the Plan.

 32.      Other Matters

          A.    Treatment of Executory Contracts and Unexpired Leases.

         Upon confirmation of the Plan, all Executory Contracts and Unexpired Leases will be
 deemed rejected, except for (i) those executory contracts and unexpired leases set forth on
 Schedule 2 that are assumed pursuant to this Plan, (ii( those executory contracts and unexpired
 leases that are the subject of a motion to assume that is pending on the Confirmation Date, (3)
 those executory contracts and unexpired leases that are a contract, release, or other agreement or
 document entered into in connection with the Plan; or (4) those that are an insurance policy.
 Except with respect to the above-described assumed/assigned agreements, the Plan constitutes a
 motion of the Debtors to reject all other Executory Contracts and Unexpired Leases and the
 Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejections,
 pursuant to section 365 of the Bankruptcy Code, as applicable, as of the Confirmation Date.

        If the rejection by the Debtors, pursuant to the Plan or otherwise, of an Executory
 Contract or Unexpired Lease results in a Claim, then such Claim shall be forever barred and shall
 not be enforceable against the Debtors or the Litigation Trust unless a Proof of Claim is filed
 with the clerk of the Bankruptcy Court and served upon counsel to the Debtors and the Litigation
 Trustee, on or before the thirtieth (30th) day after the date such Executory Contract or Unexpired
 Lease is rejected.

          B.    Administrative Claims Except 503(b)(9) Claims.

         Unless otherwise ordered by the Bankruptcy Court, all requests for payment of an
 Administrative Claim must be filed with the Bankruptcy Court and served on counsel for the
 Litigation Trustee no later than thirty (30) days after the Effective Date. Unless the Litigation

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 Trustee objects to an Administrative Claim within forty-five (45) Business Days after receipt,
 such Administrative Claim shall be deemed allowed in the amount requested. In the event that
 the Litigation Trustee objects to an Administrative Claim, the Bankruptcy Court shall determine
 the Allowed amount of such Administrative Claim. Notwithstanding the foregoing, no request
 for payment of an Administrative Claim need be filed with respect to an Administrative Claim,
 which is paid or payable by the Debtors or the Litigation Trustee, as the case may be, in the
 ordinary course of business.

          C.    Professional Fee Claims.

         All final requests for compensation or reimbursement of Professional Fees pursuant to
 sections 327, 328, 330, 331, 363, 503(b) or 1103 of the Bankruptcy Code for services rendered
 prior to the Effective Date must be filed and served on the Litigation Trustee and his counsel no
 later than forty-five (45) days after the Effective Date, unless otherwise ordered by the
 Bankruptcy Court. Objections to applications of such Professionals or other entities for
 compensation or reimbursement of expenses must be filed and served on the Litigation Trustee
 and his counsel and the requesting Professional or other entity no later than thirty (30) days (or
 such longer period as may be allowed by order of the Bankruptcy Court) after the date on which
 the applicable application for compensation or reimbursement was served.

          D.    Withholding and Reporting Requirements.

         Under the Plan, the Litigation Trustee may withhold from the amount distributable from
 the Debtors at any time to any Person (except with respect to the Internal Revenue Service) such
 sum or sums as may be sufficient to pay any tax or taxes or other charge or charges that have
 been or may be imposed on such Person or upon the Debtors with respect to the amount
 distributable or to be distributed under the income tax laws of the United States or of any state or
 political subdivision or entity by reason of any distribution provided for in the Plan, whenever
 such withholding is determined by the Litigation Trustee in its discretion to be required by any
 law, regulation, rule, ruling, directive or other governmental requirement, and the Litigation
 Trustee, in the exercise of his discretion and judgment, may enter into agreements, on behalf of
 the Debtors, with taxing or other authorities for the payment of such amounts as may be withheld
 in accordance with the provisions of the Plan. Further, if any Person fails to respond to a request
 from the Litigation Trustee for information necessary for the Litigation Trustee to make a
 distribution to such Person within 90 days of the request, the Litigation Trustee may treat such
 Person's distribution as undeliverable. Notwithstanding the foregoing but without prejudice to
 the Litigation Trustee's rights hereunder, such Person shall have the right with respect to the
 United States, or any state, or any political subdivision of either, to contest the imposition of any
 tax or other charge by reason of any distribution hereunder.

          E.    Setoffs.

         The Litigation Trustee may, but shall not be required to, set off against any Claim not
 deemed an Allowed Claim under the Plan, and the payments or other distributions to be made
 pursuant to the Plan in respect of such Claim, claims of any nature whatsoever that the Litigation
 Trustee or Debtors may have against the holder of such Claim; provided, however, that neither
 the failure to do so nor the allowance of any Claim not deemed an Allowed Claim hereunder


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 shall constitute a waiver or release by the Litigation Trustee or the Debtors of any such claim
 that the Litigation Trustee or the Debtors may have against such holder.

          F.    Dismissal of Bankruptcy Cases of RTMM and Republic Shanghai.

        Pursuant to any Final Order confirming the Plan, the Chapter 11 Cases of Debtors
 RTMM and Republic Shanghai shall be dismissed one (1) business day after the Effective Date,
 and the equity interests in those entities shall be deemed abandoned.

         RTMM's only remaining assets are approximately $70,000 of equipment which RTMM
 intends to sell to a third party buyer. The Debtors submit that it is in the best interests of
 creditors of RTMM and creditors of the remaining Debtors (not including Republic Shanghai)
 that RTMM's Chapter 11 Case be dismissed and the equity interests abandoned.

         Republic Shanghai served as a broker to Miami Metals II for purposes of finding refinery
 chemicals at discounted prices. It does not own any assets, nor does it have any affairs or
 operations which would require winding down, such that it is appropriate to abandon any equity
 interest in Republic Shanghai.

 33.      Confirmation and/or Consummation.

        Described below are certain important considerations under the Bankruptcy Code in
 connection with confirmation of the Plan.

          A.    Requirements for Confirmation of the Plan.

        The Bankruptcy Court will determine at the hearing on confirmation of the Plan (the
 "Confirmation Hearing") whether the following requirements for confirmation, set forth in
 Section 1129 of the Bankruptcy Code, have been satisfied, with respect to the Plan:

          a)    The Plan complies with the applicable provisions of the Bankruptcy Code.

          b)    The Debtors have complied with the applicable provisions of the Bankruptcy
                Code.

          c)    The Plan has been proposed in good faith and not by any means forbidden by law.

          d)    Any payment made or promised by the Debtors under the Plan for services or for
                costs and expenses in, or in connection with, the Chapter 11 Cases, or in
                connection with the Plan and incident to the Chapter 11 Cases, have been
                disclosed to the Bankruptcy Court, and any such payment made before
                confirmation of the Plan is reasonable, or if such payment is to be fixed after
                confirmation of the Plan, such payment is subject to the approval of the
                Bankruptcy Court as reasonable.

          e)    The Debtors have disclosed (i) the identity and affiliations of (x) any individual
                proposed to serve, after confirmation of the Plan, as a director, officer, or
                Litigation Trustee of the Debtors, (y) any affiliate of the Debtors participating in a

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                joint plan with the Debtors, or (z) any successor to the Debtors under the Plan
                (and the appointment to, or continuance in, such office of such individual(s) is
                consistent with the interests of Creditors and Interest holders and with public
                policy), and (ii) the identity of any insider that will be employed or retained by the
                Debtors and the nature of any compensation for such insider.

          f)    With respect to each Class of Claims or Interests, each Impaired Creditor and
                Impaired Interest holder either has accepted the Plan or will receive or retain
                under the Plan on account of the Claims or Interests held by such Impaired
                Creditor or Impaired Interest holder, property of a value, as of the Effective Date,
                that is not less than the amount that such entity would receive or retain if the
                Debtors were liquidated on such date under Chapter 7 of the Bankruptcy Code.

          g)    The Plan provides that Administrative Claims and Priority Tax Claims will be
                paid in full on the Effective Date, except to the extent that the holder of any such
                Claim has agreed to a different treatment.

          h)    Holders of 503(b)(9) Claims have not objected to treatment of their Claims under
                the Plan, or such objections have been overruled, or otherwise resolved.

          i)    If a Class of Claims is Impaired under the Plan, at least one Class of Impaired
                Claims has accepted the Plan, determined without including any acceptance of the
                Plan by insiders holding Claims in such Class.

          j)    The Plan provides for the continuation after the Effective Date of all retiree
                benefits, if any, at the level established pursuant to Section 1114(e)(1)(B) or
                1114(g) of the Bankruptcy Code at any time prior to confirmation of the Plan, for
                the duration of the period the Debtors have obligated themselves to provide such
                benefits.

         As set forth in this Disclosure Statement, the Debtors believe that, upon receipt of the
 votes required to confirm the Plan, the Plan will satisfy all the statutory requirements of Chapter
 11 of the Bankruptcy Code, that the Debtors have complied or will have complied with all of the
 requirements of Chapter 11, and that the Plan has been proposed and submitted to the
 Bankruptcy Court in good faith. There can be no assurance that the Bankruptcy Court will agree
 with the Debtors.

          B.    Condition to Confirmation.

        The entry of a Final Order finding that the Disclosure Statement contains adequate
 information pursuant to section 1125 of the Bankruptcy Code.

          C.    Conditions to Effective Date.

       The following are conditions precedent to the occurrence of the Effective Date, each of
 which must be satisfied or waived in writing in accordance with Article 11 of the Plan:



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          a)    The Confirmation Order shall have been entered and become a Final Order, in
                form and substance reasonably satisfactory to the Debtors, the Secured Parties,
                and the Committee;

          b)    all Plan Exhibits shall be in form and substance reasonably acceptable to the
                Debtors, the Secured Parties, and the Committee, and shall have been executed
                and delivered by all parties’ signatory thereto;

          c)    the Debtors or the Litigation Trustee, as the case may be, shall be authorized and
                directed to take all actions necessary or appropriate to enter into, implement and
                consummate the contracts, instruments, leases, and the agreements or documents
                created in connection with the Plan; and

          d)    all actions, documents and agreements necessary to implement the Plan shall have
                been effected or executed.

 34.      Effects of Confirmation

        With respect to the Plan that is ultimately confirmed by the Bankruptcy Court, the
 following effects will take place:

          A.    Binding Effect.

         The Plan shall be binding upon and inure to the benefit of the Debtors, all present and
 former holders of Claims against and Interests in the Debtors, their respective successors and
 assigns, including, but not limited to, the Litigation Trustee, the Secured Parties, and all other
 parties-in-interest in these Chapter 11 Cases.

          B.    Permanent Injunction.

         Except as otherwise provided in the Plan, the Confirmation Order shall provide, among
 other things, that from and after the Confirmation Date all Persons who have held, hold or may
 hold Claims against or Interests in the Debtors are permanently enjoined from taking any of the
 following actions against the Estates, or any of their property on account of any such Claims or
 Interests: (A) commencing or continuing, in any manner or in any place, any action or other
 proceeding; (B) enforcing, attaching, collecting or recovering in any manner any judgment,
 award, decree or order; (C) creating, perfecting or enforcing any lien or encumbrance; (D)
 asserting a setoff, right of subrogation or recoupment of any kind against any debt, liability or
 obligation due to the Debtors; and (E) commencing or continuing, in any manner or in any place,
 any action that does not comply with or is inconsistent with the provisions of the Plan.

        By voting in favor of, or accepting distributions pursuant to, the Plan, each holder of a
 Claim or Interest will be deemed to have specifically consented to the injunctions set forth in
 Section 11.4 of the Plan.




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                       VI.   CERTAIN FACTORS TO BE CONSIDERED

         The holder of a Claim against or Interest in any of the Debtors should read and carefully
 consider the following factors, as well as the other information set forth in this Disclosure
 Statement (and the documents delivered together herewith and/or incorporated by reference
 herein), before deciding whether to vote to accept or to reject the Plan.

 35.      General Considerations

         The Plan sets forth the means for satisfying the Claims and Interests against the Debtors.
 Certain Claims and Interests may receive no distributions pursuant to the Plan. The Secured
 Parties are waiving their Adequate Protection Liens and Adequate Protection Superpriority
 Claims (as such terms are defined in the Cash Collateral Order) under the proposed Plan, which
 avoids the potentially adverse impact of a liquidation.

 36.      Certain Bankruptcy Considerations – Failure to Confirm or Consummate the Plan

         The Plan provides for certain conditions that must be fulfilled prior to confirmation of the
 Plan and the Effective Date. As of the date of this Disclosure Statement, there can be no
 assurance that any or all of the conditions in the Plan will be met (or waived) or that the other
 conditions to consummation, if any, will be satisfied. Accordingly, even if the Bankruptcy Court
 confirms the Plan, there can be no assurance that the Plan will be consummated and the
 restructuring completed. If a liquidation or protracted reorganization were to occur, there is a
 substantial risk that the value of the Debtors' Estates would be substantially eroded to the
 detriment of all stakeholders.

                VII.     CERTAIN MATERIAL UNITED STATES FEDERAL
                          INCOME TAX CONSEQUENCES OF THE PLAN

         The following discussion summarizes certain United States ("U.S." or "United States")
 federal income tax consequences of the implementation of the Plan to the Debtors, and the U.S.
 federal income tax consequences to certain holders of Claims or Interests entitled to vote on the
 Plan. It does not address the U.S. federal income tax consequences to holders of Claims or
 Interests not entitled to vote on the Plan. This summary is based on the Internal Revenue Code of
 1986, as amended (the “IRC”), the U.S. Treasury Regulations promulgated thereunder (the
 “Treasury Regulations”), judicial decisions, and published administrative rules and
 pronouncements of the Internal Revenue Service ("IRS"), all as in effect on the date hereof
 (collectively, “Applicable U.S. Tax Law”). Changes in the rules or new interpretations of the
 rules may have retroactive effect and could significantly affect the U.S. federal income tax
 consequences described below. The discussion below is not binding upon the IRS or the courts.
 No assurance can be given that the IRS would not assert, or that a court would not sustain, a
 different position than any position discussed herein.

         This summary does not address non-U.S., state, local or non-income tax consequences of
 the Plan (including such consequences with respect to the Debtors), nor does it purport to address
 all aspects of U.S. federal income taxation that may be relevant to a holder in light of its
 individual circumstances or to a holder that may be subject to special tax rules (such as persons
 who are related to the Debtors within the meaning of the IRC, persons liable for alternative

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 minimum tax, U.S. Holders whose functional currency is not the U.S. dollar, U.S. expatriates,
 broker-dealers, banks, mutual funds, insurance companies, financial institutions, small business
 investment companies, regulated investment companies, tax exempt organizations, controlled
 foreign corporations, passive foreign investment companies, partnerships (or other entities
 treated as partnerships or other pass-through entities), beneficial owners of partnerships (or other
 entities treated as partnerships or other pass-through entities), subchapter S corporations, persons
 who hold Claims or who will hold any consideration received pursuant to the Plan as part of a
 straddle, hedge, conversion transaction, or other integrated investment, persons using a mark-to-
 market method of accounting, and holders of Claims who are themselves in bankruptcy).
 Furthermore, this summary assumes that a holder of a Claim holds only Claims in a single Class
 and holds a Claim only as a "capital asset" (within the meaning of section 1221 of the IRC). This
 summary also assumes that Claims will be treated in accordance with their form for U.S. federal
 income tax purposes. Additionally, this discussion does not address the "Medicare" tax on net
 investment income or the Foreign Account Tax Compliance Act.

         For purposes of this discussion, a "U.S. Holder" is a holder of a Claim that is: (1) an
 individual citizen or resident of the United States for U.S. federal income tax purposes; (2) a
 corporation (or other entity treated as a corporation for U.S. federal income tax purposes) created
 or organized under the laws of the United States, any state thereof or the District of Columbia;
 (3) an estate the income of which is subject to U.S. federal income taxation regardless of the
 source of such income; or (4) a trust (a) if a court within the United States is able to exercise
 primary jurisdiction over the trust’s administration and one or more United States persons
 (within the meaning of section 7701(a)(30) of the IRC) have authority to control all substantial
 decisions of the trust or (b) that has a valid election in effect under applicable Treasury
 Regulations to be treated as a United States person. For purposes of this discussion, a “Non-U.S.
 Holder” is any holder of a Claim that is neither a U.S. Holder nor a partnership (or other entity
 treated as a partnership or other pass-through entity for U.S. federal income tax purposes). No
 disclosure is provided with respect to Non-U.S. Holders.

        If a partnership (or other entity treated as a partnership or other pass-through entity for
 U.S. federal income tax purposes) is a holder of a Claim or Interest, the tax treatment of a partner
 (or other beneficial owner) generally will depend upon the status of the partner (or other
 beneficial owner) and the activities of the entity. Partners (or other beneficial owners) of
 partnerships (or other entities treated as partnerships or other pass-through entities) that are
 holders of Claims should consult their respective tax advisors regarding the U.S. federal income
 tax consequences of the Plan.

      THE FOLLOWING SUMMARY IS FOR INFORMATIONAL PURPOSES ONLY
 AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING OR FOR ADVICE
 BASED UPON THE PARTICULAR CIRCUMSTANCES PERTAINING TO A HOLDER
 OF A CLAIM. EACH HOLDER OF A CLAIM OR INTEREST IS URGED TO
 CONSULT ITS OWN TAX ADVISORS FOR THE FEDERAL, STATE, LOCAL AND
 FOREIGN INCOME AND OTHER TAX CONSEQUENCES APPLICABLE TO IT
 UNDER THE PLAN.

          A.    Consequences to the Debtors.


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         Generally, the discharge of a debt obligation owed by a debtor for an amount less than
 the "adjusted issue price" (in most cases, the amount the debtor received on incurring the
 obligation, with certain adjustments) gives rise to cancellation of indebtedness ("COD") income
 to the debtor under Section 61 of the IRC subject to certain rules and exceptions. However, when
 the discharge of indebtedness occurs pursuant to a plan confirmed by the Bankruptcy Court in a
 case under Title 11 of the Bankruptcy Code (e.g., a chapter 11 case), there is a special rule under
 Section 108 of the IRC which specifically excludes from the debtor's income the amount of such
 discharged indebtedness (the so-called "bankruptcy exception"). Instead, subject to certain
 exceptions and special rules, certain of the debtor's tax attributes otherwise available generally
 must be reduced by the amount of the COD income that is excluded from the debtor's income. It
 is not certain whether the Debtors will have COD income under the Plan although any such COD
 income should be excluded from the Debtor's income under the "bankruptcy exception"
 referenced above assuming that the Plan is confirmed with respect to the Debtors. The transfer of
 assets to the Litigation Trust by the Debtors may result in the recognition of gain or income by
 the Debtors, depending in part on the value of such assets and the Debtors' tax basis in those
 assets. Provided that each Debtor is treated as an S corporation or a disregarded entity for U.S.
 federal income tax purposes, any gain or income should not be taxable to the Debtors but rather
 pass through and be taxable to its owner.

        B.    Certain U.S. Federal Income Tax Consequences of the Plan to U.S. Holders
 of Claims Entitled to Vote.

         In general, the Debtors expect that all holders of Claims will be treated as receiving their
 distribution under the Plan in a taxable exchange under Section 1001 of the IRC. Accordingly,
 other than with respect to any amounts received that are attributable to accrued but untaxed
 interest (or original issue discount ("OID")), a U.S. Holder of such a claim would recognize gain
 or loss equal to the difference between (a) the sum of the cash and the fair market value (or issue
 price, in the case of debt instruments) of the consideration received and (b) such U.S. Holder’s
 adjusted basis in such Claim. Such U.S. Holder should obtain a tax basis in the non-cash
 consideration received, other than with respect to any amounts received that are attributable to
 accrued but untaxed interest (or OID), equal to the fair market value of the non-cash
 consideration as of the receipt of such property. The tax basis of any non-cash consideration
 treated as received in satisfaction of accrued but untaxed interest (or OID) should equal the
 amount of such accrued but untaxed interest (or OID).

         To the extent that a U.S. Holder receives distributions with respect to a Claim subsequent
 to the Plan Effective Date, such U.S. Holder may recognize additional gain (if such U.S. Holder
 is in a gain position), and a portion of such distribution may be treated as imputed interest
 income. In addition, it is possible that the recognition of any loss realized by a U.S. Holder may
 be deferred until all payments have been made out of any such account. U.S. Holders are urged
 to consult their tax advisors regarding the possible application (and the ability to elect out) of the
 “installment method” of reporting any gain that may be recognized by such U.S. Holders in
 respect of their Claims due to the receipt of property in a taxable year subsequent to the taxable
 year in which the Plan Effective Date occurs. The discussion herein assumes that the installment
 method does not apply.



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         The Plan provides that, among other things, that certain assets will be transferred by the
 Debtors to a Litigation Trust in order to facilitate the resolution of claims against the Debtors and
 the disposition of the proceeds thereof to holders of Claims. Such assets may either be subject to
 “liquidating trust” treatment or “disputed ownership fund” treatment, as described below.

          C.    Liquidating Trust Treatment of the Litigation Trust.

         While the following discussion assumes that the Litigation Trust would be treated as a
 "liquidating trust" and "grantor trust" for U.S. federal income tax purposes, no ruling will be
 requested from the IRS concerning the tax status of the Litigation Trust as a grantor trust.
 Accordingly, there can be no assurance that the IRS would not take a contrary position to the
 classification of the Litigation Trust as a grantor trust. If the IRS were to challenge successfully
 such classification, the U.S. federal income tax consequences to the Litigation Trust and the
 holders of Claims could vary from those discussed herein.

         Other than with respect to any assets that are subject to potential disputed claims of
 ownership or uncertain distributions, the Litigation Trust may be classified as a "liquidating
 trust" under section 301.7701-4(d) of the Treasury Regulations and qualify as a "grantor trust"
 under section 671 of the IRC. In such case, any beneficiaries of the Litigation Trust would be
 treated as grantors and deemed owners thereof and, for all United States federal income tax
 purposes, any beneficiaries would be treated as if they had received a distribution of an
 undivided interest in the assets of such Litigation Trust in a taxable exchange of their Claims and
 then contributed such undivided interest in such assets to the Litigation Trust. If this treatment
 applies, the person or persons responsible for administering the Litigation Trust shall, in an
 expeditious but orderly manner, make timely distributions to beneficiaries of the Litigation Trust
 pursuant to the Plan and not unduly prolong its duration. The Litigation Trust would not be
 deemed a successor in interest of the Debtors for any purpose other than as specifically set forth
 herein or in the governing documents for the Litigation Trust. Other than with respect to any
 assets of the Litigation Trust that are subject to potential disputed claims of ownership or
 uncertain distributions, the treatment of the deemed transfer of assets to applicable holders of
 Claims as a result of the transfer of such assets to the Litigation Trust should generally be a
 taxable exchange of their Claims consistent with the treatment described above with respect to
 the receipt of the applicable assets directly.

         Other than with respect to any assets of the Litigation Trust that are subject to potential
 disputed claims of ownership or uncertain distributions, no entity-level tax should be imposed on
 the Litigation Trust with respect to earnings generated by the assets held by it. Rather, each
 beneficiary must report on its federal income tax return its allocable share of income, gain, loss,
 deduction and credit, if any, recognized or incurred by the Litigation Trust, even if no
 distributions are made. Allocations of taxable income with respect to the Litigation Trust shall be
 determined by reference to the manner in which an amount of cash equal to such taxable income
 would be distributed (without regard to any restriction on distributions described herein) if,
 immediately before such deemed distribution, the trust had distributed all of its other assets
 (valued for this purpose at their tax book value) to the beneficiaries, taking into account all prior
 and concurrent distributions from such Litigation Trust. Similarly, taxable losses of such
 Litigation Trust will be allocated by reference to the manner in which an economic loss would be
 borne immediately after a liquidating distribution of the remaining assets. The tax book value of

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 the assets for this purpose shall equal their respective fair market values on the Plan Effective
 Date or, if later, the date such assets were acquired, adjusted in either case in accordance with the
 tax accounting principles prescribed by the applicable provisions of the IRC, Treasury
 Regulations and other applicable administrative and judicial authorities and pronouncements.

         The character of items of income, gain, loss, deduction and credit to any holder of a
 beneficial interest in the Litigation Trust, and the ability of such holder to benefit from any
 deductions or losses, may depend on the particular circumstances or status of the holder. Taxable
 income or loss allocated to a beneficiary should be treated as income or loss with respect to the
 interest of such beneficiary in the Litigation Trust and not as income or loss with respect to such
 beneficiary’s applicable Claim. In the event any tax is imposed on the Litigation Trust, the
 person or persons responsible for administering the Litigation Trust shall be responsible for
 payment, solely out of the assets of the Litigation Trust.

         The person or persons responsible for administering the Litigation Trust shall be liable to
 prepare and provide to, or file with, the appropriate taxing authorities and other required parties
 such notices, tax returns and other filings, including all federal, state and local tax returns as may
 be required under the Bankruptcy Code, the Plan or by other applicable law, including, if
 required under applicable law, notices required to report interest or dividend income. The person
 or persons responsible for administering the Litigation Trust will file tax returns pursuant to
 section 1.671-4(a) of the Treasury Regulations on the basis that the Litigation Trust is a
 “liquidating trust” within the meaning of section 301.7701-4(d) of the Treasury Regulations and
 related Treasury Regulations, assuming the Litigation Trust qualifies for such treatment. As soon
 as reasonably practicable after the close of each calendar year, the person or persons responsible
 for administering the Litigation Trust will send each affected beneficiary a statement setting
 forth such beneficiary’s respective share of income, gain, deduction, loss and credit for the year,
 and will instruct the holder to report all such items on its tax return for such year and to pay any
 tax due with respect thereto.

          D.    Disputed Ownership Fund Treatment.

         With respect to any of the assets that are subject to potential disputed claims of
 ownership or uncertain distributions, or to the extent “liquidating trust” treatment is otherwise
 unavailable or not elected to be applied, the Debtors intend that such assets will be subject to
 disputed ownership fund treatment under Section 1.468B-9 of the Treasury Regulations, that any
 appropriate elections with respect thereto shall be made, and that such treatment will also be
 applied to the extent possible for state and local tax purposes. Under such treatment, a separate
 federal income tax return shall be filed with the IRS for any such account. Any taxes (including
 with respect to interest, if any, earned in the account) imposed on such account shall be paid out
 of the assets of the respective account (and reductions shall be made to amounts disbursed from
 the account to account for the need to pay such taxes). To the extent property is not distributed to
 U.S. Holders of applicable Claims on the Plan Effective Date but, instead, is transferred to any
 such account, although not free from doubt, U.S. Holders should not recognize any gain or loss
 on the date that the property is so transferred. Instead, gain or loss should be recognized when
 and to the extent property is actually distributed to such U.S. Holders.




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          E.     Information Reporting and Backup Withholding.

         The Debtors will withhold all amounts required by law to be withheld from payments of
 interest and dividends. The Debtors will also comply with all applicable reporting requirements
 of the IRC. In general, information reporting requirements may apply to distributions or
 payments made to a holder of a Claim under the Plan, as well as future payments made with
 respect to consideration received under the Plan. The Debtors do not expect distributions or
 payments to U.S. Holders of Claims under the Plan to be subject to material withholding under
 the IRC.

          Backup withholding is not an additional tax. Any amounts withheld under the backup
 withholding rules generally may be credited against a holder’s U.S. federal income tax liability,
 and a holder may obtain a refund of any excess amounts withheld under the backup withholding
 rules by filing an appropriate claim for refund with the IRS (generally, a U.S. federal income tax
 return).

         In addition, from an information reporting perspective, the Treasury Regulations
 generally require disclosure by a taxpayer on its U.S. federal income tax return of certain types
 of transactions in which the taxpayer participated, including, among other types of transactions,
 certain transactions that result in the taxpayer’s claiming a loss in excess of specified thresholds.
 Holders are urged to consult their tax advisors regarding these regulations and whether the
 transactions contemplated by the Plan would be subject to these regulations and require
 disclosure on the holders’ tax returns.

 EACH HOLDER IS URGED TO SEEK ADVICE FROM HIS, HER OR ITS OWN TAX
 ADVISOR WITH RESPECT TO THE FEDERAL INCOME TAX CONSEQUENCES OF
 THE PLAN AND, IF APPLICABLE, STATE AND LOCAL TAX CONSEQUENCES.

       VIII. FEASIBILITY OF THE PLAN AND BEST INTERESTS OF CREDITORS

 37.      Feasibility

         The Bankruptcy Code requires that confirmation of a plan is not likely to be followed by
 liquidation or the need for further financial reorganization. Because the Plan provides for the
 orderly liquidation of all of the assets of the Debtors and their Estates, the Debtors believe that
 the Plan satisfies this requirement to the extent it is applicable.

 38.      Best Interests Test/Liquidation Analysis

         With respect to each impaired Class of Claims and Interests, confirmation of the Plan
 requires that each holder of a Claim or Interest either (i) accept the Plan or (ii) receive or retain
 under the Plan property of a value, as of the Effective Date, that is not less than the amount such
 holder would receive or retain if the Debtors were liquidated under chapter 7 of the Bankruptcy
 Code. To determine what holders of Claims and Interests of each impaired Class would receive
 if the Debtors were liquidated under chapter 7, the Bankruptcy Court must determine the dollar
 amount that would be generated from the liquidation of the Debtors' assets, reduced by the
 amount of the costs and expense of the liquidation.


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         The Debtors believe that if the Chapter 11 Cases were to be converted to cases under
 chapter 7, the return to Creditors would be materially less than the Distributions contemplated
 pursuant to the Plan. Conversion of these Cases to chapter 7 would be seriously disruptive to the
 Ownership Dispute litigation. The Debtors' professionals, the Secured Parties, and the
 Committee have incurred significant time and expense in understanding the business and affairs
 of the Debtors and gathering and processing vast amounts documents and information related to
 the Ownership Disputes. Conversion would risk a massive loss of information, institutional
 knowledge, dollars, and time as a chapter 7 trustee and its counsel attempted to understand and
 synthesize the information it has taken the Debtors' and Secured Parties' professionals nearly a
 year to compile.

        Significantly, if these Chapter 11 Cases are converted to chapter 7, the $2 million
 503(b)(9) Fund will no longer be available for payment of 503(b)(9) Claims. Further, the
 Secured Parties will not waive their Adequate Protection Liens and Adequate Protection
 Superpriority Claims, which THE SECURED PARTIES ASSERT total approximately
 $23,950,000. The losses to the Estates because of conversion to chapter 7 would be financially
 devastating to unsecured creditors.

         Moreover, reduction in value in a liquidation would be caused by the interruption and
 delay in the wind-down of the Debtors that would be occasioned by the likely conversion of the
 cases to chapter 7 and by the increased administrative costs that would be incurred by a chapter 7
 trustee and the trustee's professionals. The Debtors believe that the Plan will provide a greater
 and more expedited return to holders of Allowed Claims and Interests than would a chapter 7
 liquidation. The recovery by Creditors would be decreased at least by the amount of
 commissions to be paid to a chapter 7 trustee.

        Finally, absent the Plan, and in the event of a liquidation under chapter 7 of the
 Bankruptcy Code, Distributions to Creditors would be substantially delayed and assets would be
 consumed to pay the additional fees and expenses of a chapter 7 trustee and its professionals,
 which costs would not be incurred in the event of confirmation of the Plan.

              IX.     ALTERNATIVES TO PLAN AND LIQUIDATION ANALYSIS

         There are three possible consequences if the Plan is rejected or if the Bankruptcy Court
 refuses to confirm the Plan: (a) the Bankruptcy Court could dismiss the Debtors' chapter 11
 bankruptcy cases, (b) the Debtors' chapter 11 bankruptcy cases could be converted to cases under
 chapter 7 of the Bankruptcy Code, or (c) the Bankruptcy Court could consider an alternative plan
 of liquidation proposed by another party.

 39.      Dismissal

         If the Debtors' bankruptcy cases were dismissed, the Debtors would no longer have the
 protection of the Bankruptcy Court and the applicable provisions of the Bankruptcy Code. The
 Debtors believe that dismissal would not serve the interests of the creditors as the orderly
 liquidation proposed under the Plan will result in a greater return to creditors than a liquidation
 outside of bankruptcy.



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 40.      Chapter 7 Liquidation

         As set forth above, and as bears repeating, if these Cases are converted to chapter 7, the
 loss to the Estates will total at least $25,950,000, if not significantly more. The $2 million
 503(b)(9) Fund will no longer be available for payment of 503(b)(9) Claims. Further, the
 Secured Parties will not waive their Adequate Protection Liens and Adequate Protection
 Superpriority Claims, which THE SECURED PARTIES ASSERT total approximately
 $23,950,000. The losses to the Estates as a result of conversion to chapter 7 would be financially
 devastating to unsecured creditors.

         If the Plan is not confirmed, it is possible that the Debtors' Chapter 11 Cases will be
 converted to cases under chapter 7 of the Bankruptcy Code, in which case a trustee would be
 elected or appointed to liquidate the assets of the Debtors for distribution to creditors in
 accordance with the priorities established by the Bankruptcy Code. Whether a bankruptcy case is
 one under chapter 7 or chapter 11, secured creditors, Administrative Claims and Priority Claims
 are entitled to be paid in cash and in full before unsecured creditors receive any funds.

         In a liquidation under chapter 7, the 503(b)(9) Fund would no longer be available to pay
 503(b)(9) Claims upon conversion, and Administrative Claims, including 503(b)(9) Claims will
 have a priority lower than priority claims generated by the chapter 7 case, such as the chapter 7
 trustee’s fees or the fees of attorneys, accountants and other professionals engaged by the trustee.

         The Debtors believe that liquidation under chapter 7 would result in smaller distributions
 being made to Claim and Interest holders than those provided for in the Plan. Conversion to
 chapter 7 would give rise to (a) additional administrative expenses involved in the appointment
 of a trustee and attorneys and other professionals to assist such trustee; and (b) additional
 expenses and Claims, some of which would be entitled to priority that would be generated during
 the liquidation. In a chapter 7 liquidation, it is likely that General Unsecured Creditors receive a
 diminished recovery (if any) on their claims or interests because, among other things, the
 Secured Parties will not waive their Adequate Protection Liens and Adequate Protection
 Superpriority Claims and will not contribute the 503(b)(9) Fund.

 41.      Alternative Plan

         The Debtors have filed the Plan within the “exclusive period.” Accordingly, no
 alternative plan has been proposed, and if one were, it would more than likely be substantially
 similar to the Debtors’ Plan in that it would propose a liquidation of the Debtors and the
 distribution of available Cash and Trust Units to Creditors and Interest holders. In comparison to
 the Debtors' Plan, an alternative plan would not likely provide any greater return to creditors and
 any return could even be less due to the additional time and expense necessary to obtain approval
 of any alternative plan.

                    X.       THE SOLICITATION; VOTING PROCEDURE

 42.      Parties in Interest Entitled to Vote

       Under Section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to
 be "impaired" under a plan unless (i) the plan leaves unaltered the legal, equitable, and

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 contractual rights to which such claim or interest entitles the holder thereof or (ii)
 notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
 cures all existing defaults (other than defaults resulting from the occurrence of events of
 bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

          In general, a holder of a claim or interest may vote to accept or to reject a plan if (i) the
 claim or interest is "allowed," which means generally that no party in interest has objected to
 such claim or interest, and (ii) the claim or interest is impaired by the plan. If, however, the
 holder of an impaired claim or interest will not receive or retain any distribution under the plan
 on account of such claim or interest, the Bankruptcy Code deems such holder to have rejected
 the plan, and, accordingly, holders of such claims and interests do not actually vote on the plan.
 If a claim or interest is not impaired by the plan, the Bankruptcy Code deems the holder of such
 claim or interest to have accepted the plan and, accordingly, holders of such claims and interests
 are not entitled to vote on the plan.

 43.      Classes Impaired under the Plan

         By operation of law, each Unimpaired Class of Claims (in these cases, Classes 1 and 2) is
 deemed to have accepted the Plan and, therefore, is not entitled to vote to accept or reject that
 Plan. Classes 3, 4, and 5 are Impaired and are therefore entitled to vote to accept or reject the
 Plan by operation of law. Classes 7 and 8 are not entitled to vote on the Plan because Equity
 Interests are being cancelled and there will be no distribution to holders of Equity Interests.
 Because Classes 3, 4, and 5 are entitled to vote to accept or reject the Plan, votes of the holders
 of Classes 3, 4, and 5 will be solicited. Votes of holders of Classes 7 and 8 will not be solicited
 because there will be no distribution to holders of such Interests and Claims, and Classes 7 and 8
 are deemed to have rejected the Plan.

 44.      Waivers of Defects, Irregularities, Etc.

          Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
 eligibility (including time of receipt), acceptance, and revocation or withdrawal of Ballots will be
 determined by the Debtors, in their sole discretion, which determination will be final and
 binding. As indicated below under "Withdrawal of Ballots; Revocation," effective
 withdrawals of Ballots must be delivered to the Debtors prior to the Voting Deadline. The
 Debtors reserve the absolute right to contest the validity of any such withdrawal. The Debtors
 also reserve the right to seek to reject any and all Ballots not in proper form, the acceptance of
 which would, in the opinion of the Debtors or their counsel, be unlawful. The Debtors further
 reserve the right to waive any defects or irregularities or conditions of delivery as to any
 particular Ballot. The interpretation (including the Ballot and the respective instructions thereto)
 by the Debtors, unless otherwise directed by the Bankruptcy Court, will be final and binding on
 all parties. Unless waived, any defects or irregularities in connection with deliveries of Ballots
 must be cured within such time as the Debtors (or the Bankruptcy Court) determine. Neither the
 Debtors nor any other person will be under any duty to provide notification of defects or
 irregularities with respect to deliveries of Ballots nor will any of them incur any liabilities for
 failure to provide such notification. Unless otherwise directed by the Bankruptcy Court, delivery
 of such Ballots will not be deemed to have been made until such irregularities have been cured or



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 waived. Ballots previously furnished (and as to which any irregularities have not theretofore
 been cured or waived) will be invalidated.

 45.      Withdrawal of Ballots; Revocation

         Any party who has delivered a valid Ballot for the acceptance or rejection of the Plan
 may withdraw such acceptance or rejection by delivering a written notice of withdrawal to the
 Debtors at any time prior to the Voting Deadline. A notice of withdrawal, to be valid, must (i)
 contain the description of the Claim(s) to which it relates and the aggregate principal amount
 represented by such Claim(s), (ii) be signed by the withdrawing party in the same manner as the
 Ballot being withdrawn, (iii) contain a certification that the withdrawing party owns the Claim(s)
 and possesses the right to withdraw the vote sought to be withdrawn and (iv) be received by the
 Debtors in a timely manner at the address set forth below. As stated above, the Debtors
 expressly reserve the absolute right to contest the validity of any such withdrawals of Ballots.

         Unless otherwise directed by the Bankruptcy Court, a purported notice of withdrawal of
 Ballots which is not received in a timely manner by the Debtors will not be effective to withdraw
 a previously cast Ballot.

         Any party who has previously submitted to the Debtors prior to the Voting Deadline a
 properly completed Ballot may revoke such Ballot and change its vote by submitting to the
 Debtors prior to the Voting Deadline a subsequent properly completed Ballot for acceptance or
 rejection of the Plan. In the case where more than one timely, properly completed Ballot is
 received, only the Ballot which bears the latest date will be counted for purposes of determining
 whether the Requisite Acceptances have been received.

 46.      Further Information; Additional Copies

        If you have any questions or require further information about the voting procedure for
 voting your Claim or about the packet of materials you received, or if you wish to obtain an
 additional copy of the Plan, the Disclosure Statement, or any exhibits or appendices to such
 documents (at your own expense, unless otherwise specifically required by Bankruptcy Rule
 3017(d)), please contact counsel for the Debtors:

                                Donlin, Recano & Company, Inc.
                                 Re: Miami Metals I, Inc., et al.
                                    Attn: Voting Department
                                        P.O. Box 199043
                                      Blythebourne Station
                                      Brooklyn, NY 11219
                                Email: drcvote@donlinrecano.com
                                      Phone: 212.771.1128

 47.      Plan Supplement

        Forms of the Plan Supplement Documents (which may be in substantially final form),
 including the Litigation Trust Agreement, the identity of the members of the Trust Oversight
 Committee, Schedule of Retained Causes of Action, and such other documents as the Debtors

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 determine to be necessary or appropriate to the implementation and/or confirmation of the Plan
 shall be contained in the Plan Supplement which will be filed with the Clerk of the Court no later
 than fourteen (14) calendar days prior to the Confirmation Hearing.

 48.      Internet Access to Bankruptcy Court Documents

         Bankruptcy Court documents filed in these Chapter 11 Cases as well as the Bankruptcy
 Court's calendar and other administrative matters may be found, downloaded and printed from
 the Bankruptcy Court's website found at http://www.nysb.uscourts.gov or Donlin Recano &
 Company's        website     for      these      Chapter     11     Cases       found     at
 https://www.donlinrecano.com/Clients/rmetals/Dockets.




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                     XI.     RECOMMENDATION AND CONCLUSION

        For all of the reasons set forth in this Disclosure Statement, the Debtors believe that
 confirmation and consummation of the Plan is preferable to all other alternatives. Consequently,
 the Debtors urge all holders of Class 3 Claims, Class 4 Claims, and Class 5 Claims to vote to
 ACCEPT the Plan, and to complete and return their ballots so that they will be RECEIVED by
 the Debtors on or before October 4, 2019, at 5:00 p.m. prevailing Eastern Time on the Voting
 Deadline.

 Dated as of this 1st day of August, 2019.


                               MIAMI METALS I, INC.

                               By: /s/ Scott Avila
                                       Scott Avila, Chief Restructuring Officer


                               MIAMI METALS II, INC.

                               By: /s/ Scott Avila
                                       Scott Avila, Chief Restructuring Officer



                               MIAMI METALS III LLC

                               By: /s/ Scott Avila
                                       Scott Avila, Chief Restructuring Officer




                SIGNATURES CONTINUE ON THE FOLLOWING PAGES




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                          MIAMI METALS IV LLC

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer


                          MIAMI METALS V LLC

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer


                          MIAMI METALS VI LLC

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer


                          MIAMI METALS VII LLC

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer


                          MIAMI METALS VIII LLC

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer


                          REPUBLIC TRANS MEXICO METALS, S.R.L.

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer


                          REPUBLIC METALS TRADING (SHANGHAI) CO., LTD.

                          By: /s/ Scott Avila
                                  Scott Avila, Chief Restructuring Officer




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